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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Roland W. Tremblay Jr.                                                                                              Check if this is:
                                                                                                                                                                                                                            An amended filing
                                                                                    Debtor 2        Lisa J. Tremblay
                                                                                    (Spouse, if filing)                                                                                                                 Chapter you are filing under:
                                                                                                                                                                                                                            Chapter 7
                                                                                    United States Bankruptcy Court for the District of Massachusetts                                                                        Chapter 11
                                                                                                                                                                                                                            Chapter 12
                                                                                    Case number                                                                                                                             Chapter 13
                                                                                    (If known)



                                                                               Official Form 101
                                                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/17


                                                                               The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together--called a
                                                                               joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a
                                                                               car," the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
                                                                               and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
                                                                               The same person must be Debtor 1 in all of the forms.

                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Identify Yourself

                                                                                                                         About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

                                                                               1.    Your full name                      Roland                                                            Lisa
                                                                                                                         First name                                                        First name
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                                                                                     Write the name that is on your      W.                                                                J.
                                                                                     government-issued picture           Middle name                                                       Middle name
                                                                                     identification (for example,        Tremblay                                                          Tremblay
                                                                                     your driver’s license or
                                                                                                                         Last name                                                         Last name
                                                                                     passport).
                                                                                                                         Jr.
                                                                                     Bring your picture                  Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)
                                                                                     identification to your meeting
                                                                                     with the trustee.



                                                                               2.    All other names you have Roland                                                                       Lisa
                                                                                     used in the last 8 years. First name                                                                  First name
                                                                                                               Wilfred
                                                                                     Include your married or             Middle name                                                       Middle name
                                                                                     maiden names.                       Tremblay                                                          Sealey
                                                                                                                         Last name                                                         Last name
                                                                                                                         Jr.
                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)

                                                                                                                         Roland                                                            N/A
                                                                                                                         First name                                                        First name

                                                                                                                         Middle name                                                       Middle name
                                                                                                                         Tremblay
                                                                                                                         Last name                                                         Last name

                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)




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                                                                               3.   Only the last 4 digits of      XXX-XX-4437                                                    XXX-XX-2708
                                                                                    your Social Security
                                                                                    number or federal
                                                                                    Individual Taxpayer
                                                                                    Identification number
                                                                                    (ITIN)



                                                                               4.   Any business names and        I have not used any business names or EINs                            I have not used any business names or EINs
                                                                                    Employer Identification
                                                                                    Numbers (EIN) you have N/A                                                                    N/A
                                                                                    used in the last 8 years. Business name                                                       Business name
                                                                                                              N/A                                                                 N/A
                                                                                    Include trade names and        Business name                                                  Business name
                                                                                    doing business as names.

                                                                                                                   XX-XXXXXXX                                                     N/A
                                                                                                                   EIN                                                            EIN

                                                                                                                   N/A                                                            N/A
                                                                                                                   EIN                                                            EIN




                                                                               5.   Where you live                                                                                If Debtor 2 lives at a different address:

                                                                                                                   32 Crestwood Dr.                                               Same
                                                                                                                   Number    Street                                               Number    Street
                                                                                                                                                                                  Same

                                                                                                                   Southbridge MA 01550                                           Same Same
                                                                                                                   City, State, Zip Code                                          City, State, Zip Code
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                                                                                                                   Worcester                                                      Worcester
                                                                                                                   County                                                         County

                                                                                                                   If your mailing address is different from the one              If your mailing address is different from the one
                                                                                                                   above, fill it in here. Note that the court will send          above, fill it in here. Note that the court will send
                                                                                                                   any notices to you at this mailing address.                    any notices to you at this mailing address.

                                                                                                                   N/A                                                            N/A
                                                                                                                   Number    Street                                               Number    Street




                                                                                                                   City, State, Zip Code                                          City, State, Zip Code




                                                                               6.   Why you are choosing           Check one:                                                     Check one:
                                                                                    this district to file for
                                                                                    bankruptcy                           Over the last 180 days before filing this                      Over the last 180 days before filing this
                                                                                                                         petition, I have lived in this district longer                 petition, I have lived in this district longer
                                                                                                                         than in any other district.                                    than in any other district.

                                                                                                                         I have another reason. Explain. (See 28                        I have another reason. Explain. (See 28
                                                                                                                         U.S.C. § 1408.)                                                U.S.C. § 1408.)

                                                                                                                         N/A                                                            N/A




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                                                                                Part 2:        Tell the Court About Your Bankruptcy Case

                                                                               7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
                                                                                    Bankruptcy Code you are Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
                                                                                    choosing to file under
                                                                                                                Chapter 7

                                                                                                                        Chapter 11

                                                                                                                        Chapter 12

                                                                                                                        Chapter 13



                                                                               8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                                                                                        local court for more details about how you may pay. Typically, if you are paying the fee
                                                                                                                        yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                                                                                        submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                                                                                                        a pre-printed address.

                                                                                                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application
                                                                                                                        for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                                                                                                        I request that my fee be waived (You may request this option only if you are filing for Chapter
                                                                                                                        7. By law, a judge may, but is not required to, waive your fee, and may do so only if your income
                                                                                                                        is less than 150% of the official poverty line that applies to your family size and you are unable
                                                                                                                        to pay the fee in installments). If you choose this option, you must fill out the Application to
                                                                                                                        Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



                                                                               9.   Have you filed for                  No
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                                                                                    bankruptcy within the
                                                                                    last 8 years?                       Yes       District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                  District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                  District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY




                                                                               10. Are any bankruptcy                   No
                                                                                   cases pending or being
                                                                                   filed by a spouse who is             Yes       Debtor     N/A                                                   Relationship
                                                                                   not filing this case with
                                                                                   you, or by a business                          District                              When                       Case number
                                                                                   partner, or by an                                                                             MM/DD/YYYY
                                                                                   affiliate?

                                                                                                                                  Debtor     N/A                                                   Relationship

                                                                                                                                  District                              When                       Case number
                                                                                                                                                                                 MM/DD/YYYY




                                                                               11. Do you rent your                     No. Go to line 12.
                                                                                   residence?                           Yes. Has your landlord obtained an eviction judgment against you?

                                                                                                                                  No. Go to line 12.
                                                                                                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                                                                                                  part of this bankruptcy petition.




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                                                                                Part 3:         Report About Any Businesses You Own as a Sole Proprietor



                                                                               12. Are you a sole proprietor              No.    Go to Part 4.
                                                                                   of any full- or part-time
                                                                                   business?

                                                                                    A sole proprietorship is a
                                                                                    business you operate as an
                                                                                    individual, and is not a
                                                                                    separate legal entity such as
                                                                                    a corporation, partnership, or
                                                                                    LLC.


                                                                                Part 4:         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                                                               14. Do you own or have any                 No.
                                                                                   property that poses or
                                                                                   is alleged to pose a                   Yes.
                                                                                   threat of imminent and
                                                                                   identifiable hazard to
                                                                                   public health or
                                                                                   safety? Or do you own
                                                                                   any property that needs
                                                                                   immediate attention?

                                                                                    For example, do you own
                                                                                    perishable goods, or
                                                                                    livestock that must be fed,
                                                                                    or a building that needs
                                                                                    urgent repairs?
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                                                                                Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                                      About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                                               15. Tell the court whether             You must check one:                                          You must check one:
                                                                                   you have received
                                                                                   briefing about credit                  I received a briefing from an approved                        I received a briefing from an approved
                                                                                                                          credit counseling agency within the 180                       credit counseling agency within the 180
                                                                                   counseling.                            days before I filed this bankruptcy                           days before I filed this bankruptcy petition,
                                                                                                                          petition, and I received a certificate of                     and I received a certificate of completion.
                                                                                    The law requires that you
                                                                                                                          completion.
                                                                                    receive a briefing about credit
                                                                                                                                                                                        Attach a copy of the certificate and the
                                                                                    counseling before you file for
                                                                                                                          Attach a copy of the certificate and the                      payment plan, if any, that you developed with
                                                                                    bankruptcy. You must
                                                                                                                          payment plan, if any, that you developed with                 the agency.
                                                                                    truthfully check one of the
                                                                                                                          the agency.
                                                                                    following choices. If you
                                                                                                                                                                                        I received a briefing from an approved
                                                                                    cannot do so, you are not
                                                                                                                          I received a briefing from an approved                        credit counseling agency within the 180
                                                                                    eligible to file.
                                                                                                                          credit counseling agency within the 180                       days before I filed this bankruptcy petition,
                                                                                                                          days before I filed this bankruptcy petition,                 but I do not have a certificate of completion.
                                                                                    If you file anyway, the court
                                                                                                                          but I do not have a certificate of
                                                                                    can dismiss your case, you will
                                                                                                                          completion.                                                   Within 14 days after you file this bankruptcy
                                                                                    lose whatever filing fee you
                                                                                                                                                                                        petition, you MUST file a copy of the
                                                                                    paid, and your creditors can
                                                                                                                          Within 14 days after you file this bankruptcy                 certificate and payment plan, if any.
                                                                                    begin collection activities
                                                                                                                          petition, you MUST file a copy of the
                                                                                    again.
                                                                                                                          certificate and payment plan, if any.




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                                                                                                                   About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
                                                                                                                       I certify that I asked for credit                            I certify that I asked for credit
                                                                                                                       counseling services from an approved                         counseling services from an approved
                                                                                                                       agency, but was unable to obtain those                       agency, but was unable to obtain those
                                                                                                                       services during the 7 days after I made my                   services during the 7 days after I made my
                                                                                                                       request, and exigent circumstances merit                     request, and exigent circumstances merit a
                                                                                                                       a 30-day temporary waiver of the                             30-day temporary waiver of the
                                                                                                                       requirement.                                                 requirement.

                                                                                                                       To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                                                                                                       requirement, attach a separate sheet                         requirement, attach a separate sheet
                                                                                                                       explaining what efforts you made to obtain the               explaining what efforts you made to obtain the
                                                                                                                       briefing, why you were unable to obtain it                   briefing, why you were unable to obtain it
                                                                                                                       before you filed for bankruptcy, and what                    before you filed for bankruptcy, and what
                                                                                                                       exigent circumstances required you to file this              exigent circumstances required you to file this
                                                                                                                       case.                                                        case.

                                                                                                                       Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                                                                                                       dissatisfied with your reasons for not                       dissatisfied with your reasons for not receiving
                                                                                                                       receiving a briefing before you filed for                    a briefing before you filed for bankruptcy. If
                                                                                                                       bankruptcy. If the court is satisfied with your              the court is satisfied with your reasons, you
                                                                                                                       reasons, you must still receive a briefing                   must still receive a briefing within 30 days
                                                                                                                       within 30 days after you file. You must file a               after you file. You must file a certificate
                                                                                                                       certificate from the approved agency, along                  from the approved agency, along with a copy
                                                                                                                       with a copy of the payment plan you                          of the payment plan you developed, if any. If
                                                                                                                       developed, if any. If you do not do so, your                 you do not do so, your case may be dismissed.
                                                                                                                       case may be dismissed.
                                                                                                                                                                                    Any extension of the 30-day deadline is
                                                                                                                       Any extension of the 30-day deadline is                      granted only for cause and is limited to a
                                                                                                                       granted only for cause and is limited to a                   maximum of 15 days.
                                                                                                                       maximum of 15 days.

                                                                                                                       I am not required to receive a briefing                      I am not required to receive a briefing
                                                                                                                       about credit counseling because of:                          about credit counseling because of:

                                                                                                                            Incapacity.     I have a mental illness                      Incapacity.     I have a mental illness or
                                                                                                                                            or a mental deficiency                                       a mental deficiency that
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                                                                                                                                            that makes me incapable                                      makes me incapable of
                                                                                                                                            of realizing or making                                       realizing or making
                                                                                                                                            rational decisions about                                     rational decisions about
                                                                                                                                            finances.                                                    finances.

                                                                                                                            Disability.     My physical disability                       Disability.     My physical disability
                                                                                                                                            causes me to be unable to                                    causes me to be unable to
                                                                                                                                            participate in a briefing                                    participate in a briefing
                                                                                                                                            in person, by phone, or                                      in person, by phone, or
                                                                                                                                            through the internet, even                                   through the internet, even
                                                                                                                                            after I reasonably tried to                                  after I reasonably tried to
                                                                                                                                            do so.                                                       do so.

                                                                                                                            Active duty.    I am currently on active                     Active duty.    I am currently on active
                                                                                                                                            military duty in a                                           military duty in a military
                                                                                                                                            military combat zone.                                        combat zone.

                                                                                                                       If you believe you are not required to receive a             If you believe you are not required to receive a
                                                                                                                       briefing about credit counseling, you must file              briefing about credit counseling, you must file
                                                                                                                       a motion for waiver of credit counseling with                a motion for waiver of credit counseling with
                                                                                                                       the court.                                                   the court.




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                                                                                Part 6:        Answer These Questions for Reporting Purposes

                                                                               16. What kind of debts do           16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                   you have?                               "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                                                                 No. Go to line 16b.
                                                                                                                                 Yes. Go to line 17.

                                                                                                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                                                                                           money for a business or investment or through the operation of the business or investment.

                                                                                                                                 No. Go to line 16c.
                                                                                                                                 Yes. Go to line 17.

                                                                                                                   16c.    State the type of debts you owe that are not consumer debts or business debts: N/A



                                                                               17. Are you filing under                   No. I am not filing under Chapter 7. Go to line 18.
                                                                                   Chapter 7?
                                                                                                                          Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                                                                                                               administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                                                                    Do you estimate that
                                                                                    after any exempt                                No.
                                                                                    property is excluded and
                                                                                    administrative expenses                         Yes.
                                                                                    are paid that funds will
                                                                                    be available for
                                                                                    distribution to
                                                                                    unsecured creditors?



                                                                               18. How many creditors do                  1-49                                   1,000 - 5,000                         25,001 - 50,000
                                                                                   you estimate that you                  50-99                                  5,001 - 10,000                        50,001 - 100,000
                                                                                                                          100-199                                10,001 - 25,000                       More than 100,000
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                                                                                   owe?
                                                                                                                          200-999



                                                                               19. How much do you                        $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your assets to                $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   be worth?                              $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                          $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion



                                                                               20. How much do you                        $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your liabilities              $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   to be?                                 $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                          $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion




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                                                                                Part 7:        Sign Below

                                                                               For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true and
                                                                                                                     correct.

                                                                                                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or
                                                                                                                     13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                                                                                     under Chapter 7.

                                                                                                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                                                                                     this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                                                                                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                                                                                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                                                                                                     connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or
                                                                                                                     both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                                                     /s/ Roland W. Tremblay Jr.                                                                03/11/2019
                                                                                                                     Debtor 1                                                                                  MM/DD/YYYY

                                                                                                                     /s/ Lisa J. Tremblay                                                                      03/11/2019
                                                                                                                     Debtor 2                                                                                  MM/DD/YYYY



                                                                               For your attorney, if you             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
                                                                               are represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                                               Note that BkAssist is licensed for    the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
                                                                               use only by attorneys. If you are     knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
                                                                               not represented by an attorney, you
                                                                               may not file this petition.
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                                                                                                                     /s/ Ginger B. Kelly, Esq.                                                                 03/11/2019
                                                                                                                     Attorney for Debtor(s)                                                                    MM/DD/YYYY



                                                                                                                     Ginger B. Kelly, Esq.
                                                                                                                     Printed name
                                                                                                                     The Law Offices of Ginger B. Kelly
                                                                                                                     Firm name
                                                                                                                     167 Carpenter Hill Road
                                                                                                                     Number Street



                                                                                                                     Charlton MA 01507
                                                                                                                     City, State, ZIP Code

                                                                                                                     (508) 784-1014                                              AttorneyGingerKelly@gmail.com
                                                                                                                     Contact phone                                               Email address
                                                                                                                     568727
                                                                                                                     Bar number




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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Roland W. Tremblay Jr.

                                                                                    Debtor 2        Lisa J. Tremblay
                                                                                    (Spouse, if filing)                                                                                                                                           Check if this is an amended
                                                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106Sum
                                                                               Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                              12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
                                                                               your original forms, you must fill out a new Summary and check the box at the top of this page.


                                                                                Part 1:              Summarize Your Assets

                                                                                                                                                                                                                                                               Your assets
                                                                                                                                                                                                                                                               Value of what
                                                                                                                                                                                                                                                               you own

                                                                               1.    Schedule A/B: Property (Official Form 106A/B)
                                                                                     1a. Copy line 55, Total real estate, from Schedule A/B .........................................................................................                               $199,000.00

                                                                                     1b. Copy line 62, Total personal property, from Schedule A/B ..............................................................................                                     $26,339.82

                                                                                     1c. Copy line 63, Total of all property on Schedule A/B.........................................................................................                               $225,339.82
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                                                                                Part 2:              Summarize Your Liabilities

                                                                                                                                                                                                                                                               Your liabilities
                                                                                                                                                                                                                                                               Amount you owe

                                                                               2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of
                                                                                     Schedule D.............................................................................................................................................................        $192,103.00

                                                                               3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................                                                           $0.00

                                                                                     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.......................                                                       $257,823.54

                                                                                                                                                                                                                            Your total liabilities                  $449,926.54


                                                                                Part 3:              Summarize Your Income and Expenses

                                                                               4.    Schedule I: Your Income (Official Form 106I)
                                                                                     Copy your combined monthly income from line 12 of Schedule I ..........................................................................                                          $5,914.41

                                                                               5.    Schedule J: Your Expenses (Official Form 106J)
                                                                                     Copy your monthly expenses from line 22, Column A, of Schedule J. ..................................................................                                             $5,618.53




                                                                               Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                             Page 1
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                                                                               Debtor 1     Roland W. Tremblay Jr.                                                                                                                                              Case number:
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                                                                                Part 4:            Answer These Questions for Administrative and Statistical Records

                                                                               6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?
                                                                                        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other
                                                                                        schedules.
                                                                                        Yes

                                                                               7.   What kind of debt do you have?
                                                                                       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                                                                                       family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9 for statistical purposes. 28 U.S.C. § 159.
                                                                                       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
                                                                                       submit this form to the court with your other schedules.

                                                                               8.   From the Statement of Your Current Monthly Income (Official Form 122A-1, 122B, or 122C-1):
                                                                                    Copy your total current monthly income from line 11.............................................................................................                              $6,553.60

                                                                               9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:..................................

                                                                               From Part 4 on Schedule E/F, copy the following:                                                                                                                            Total claim

                                                                                    9a. Domestic support obligations (Copy line 6a.)...................................................................................................                                  $0.00

                                                                                    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)........................................................                                                    $0.00

                                                                                    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) ..............................................                                                   $0.00

                                                                                    9d. Student loans. (Copy line 6f.)...........................................................................................................................                        $0.00

                                                                                    9e. Obligations arising out of a separation agreement or divorce that you did not report as priority claims.
                                                                                        (Copy line 6g.).................................................................................................................................................                 $0.00

                                                                                    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)............................................                                                   $0.00

                                                                                    9g. Total. Add lines 9a through 9f..........................................................................................................................                         $0.00
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                                                                               Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                              Page 2
                                                                                                 Case 19-40372                         Doc 1     Filed 03/11/19 Entered 03/11/19 17:39:15                          Desc Main
                                                                                                                                                  Document     Page 10 of 72

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1         Roland W. Tremblay Jr.

                                                                                    Debtor 2         Lisa J. Tremblay
                                                                                    (Spouse, if filing)                                                                                                           Check if this is an amended
                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106A/B
                                                                               Schedule A/B: Property                                                                                                                                 12/15


                                                                               In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
                                                                               the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
                                                                               equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
                                                                               additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Each Residence, Building, Land or Other Real Estate You Own or Have an Interest in

                                                                               1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

                                                                                            No. Go to Part 2.
                                                                                            Yes. Where is the property?
                                                                                     1.1 32 Crestwood Dr.                                        What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                            Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                    Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
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                                                                                                                                                    Condominium or cooperative                 Secured by Property.
                                                                                                                                                    Manufactured or mobile home
                                                                                            Southbridge MA 01550                                    Land                                                                  Current value of
                                                                                                                                                                                                 Current value of
                                                                                            City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                               the entire property?
                                                                                                                                                    Timeshare                                                                  own?
                                                                                            Worcester                                               Other
                                                                                            County                                                   N/A                                                $199,000.00              $199,000.00
                                                                                                                                                 Who has an interest in the property? Check
                                                                                                                                                     one
                                                                                                                                                     Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                     Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                     Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                     At least one of the debtors and another
                                                                                                                                                                                               Interest in Primary Residence with Spouse
                                                                                                                                                 Other information you wish to add about
                                                                                                                                                 this item, such as local property                  Check if this is community property
                                                                                                                                                 identification number:                             (see instructions)

                                                                               2.    Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                                                                                                                $199,000.00
                                                                                     entries for pages you have attached for Part 1. Write that number here. ...........................................


                                                                                Part 2:              Describe Your Vehicles
                                                                               Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
                                                                               vehicles you own that someone else drives. If you lease a vehicle, also report it onSchedule G: Executory Contracts and Unexpired
                                                                               Leases.


                                                                               3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

                                                                                            No.
                                                                                            Yes.




                                                                               Official Form 106A/B                                                        Schedule A/B: Property                                                         Page 1
                                                                                               Case 19-40372                        Doc 1             Filed 03/11/19 Entered 03/11/19 17:39:15                                                         Desc Main
                                                                               Debtor 1    Roland W. Tremblay Jr.                                                                                                                                                Case number:
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                                                                                    3.1 Make:           Dodge                                         Who has an interest in the property? Check                          Do not deduct secured claims or exemptions.
                                                                                                                                                      one                                                                 Put the amount of any secured claims on
                                                                                          Model:        Caravan                                              Debtor 1 only                                                Schedule D: Creditors Who Have Claims
                                                                                                                                                             Debtor 2 only                                                Secured by Property.
                                                                                          Year:         2015                                                 Debtor 1 and Debtor 2 only
                                                                                                                                                             At least one of the debtors and another                                                      Current value of
                                                                                                                                                                                                                             Current value of
                                                                                          Approximate mileage: 45,000                                                                                                                                     the portion you
                                                                                                                                                                                                                           the entire property?
                                                                                                                                                             Check if this is community property                                                               own?
                                                                                          Other information:                                                 (see instructions)
                                                                                                                                                                                                                                        $12,213.00               $12,213.00


                                                                               4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
                                                                                    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

                                                                                          No.
                                                                                          Yes.

                                                                               5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                                                                                                                                                $12,213.00
                                                                                    entries for pages you have attached for Part 2. Write that number here ............................................


                                                                                Part 3:            Describe Your Personal and Household Items
                                                                               Do you own or have any legal or equitable interest in any of the following items? (List the current value of the portion you own. Do not
                                                                               deduct secured claims or exemptions)



                                                                               6.   Household goods and furnishings
                                                                                    Examples: Major appliances, furniture, linens, china, kitchenware

                                                                                          No
                                                                                          Yes (Household Furnishings $1,000.00, J); (Washer-Dryer Necessary for Household Use
                                                                                             $300.00, J); (Range $100.00, J); (Refrigerator $100.00, J).....................................................                                                       $1,500.00

                                                                               7.   Electronics
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                                                                                    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                                                                                    collections; electronic devices including cell phones, cameras, media players, games

                                                                                          No
                                                                                          Yes (Laptop Computer $50.00, D1); (Desktop Computer $100.00, D1); (Laptop Computer
                                                                                             $50.00, D2)...................................................................................................................................                          $200.00

                                                                               8.   Collectibles of value
                                                                                    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp,
                                                                                    coin, or baseball card collections; other collections, memorabilia, collectibles

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               9.   Equipment for sports and hobbies
                                                                                    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                                                                                    and kayaks; carpentry tools; musical instruments

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               10. Firearms
                                                                                    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

                                                                                          No
                                                                                          Yes (Firearms $500.00, J) .................................................................................................................                                $500.00

                                                                               11. Clothes
                                                                                    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

                                                                                          No
                                                                                          Yes (Clothing $750.00, J)..................................................................................................................                                $750.00

                                                                               12. Jewelry
                                                                                    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                                                                                    gold, silver



                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                             Page 2
                                                                                               Case 19-40372                        Doc 1             Filed 03/11/19 Entered 03/11/19 17:39:15                                                           Desc Main
                                                                               Debtor 1    Roland W. Tremblay Jr.                                                                                                                                                Case number:
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                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               13. Non-farm animals
                                                                                    Examples: Dogs, cats, birds, horses

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               14. Any other personal and household items you did not already list, including any health aids you
                                                                                   did not list

                                                                                          No
                                                                                          Yes (Pellet Stove - Heating Unit $1,000.00, J); (Tools, Necessary for Maintenance of
                                                                                             Home; i.e., Lawnmower, String trimmer, Blower, Generator, Snowblower $400.00, J);
                                                                                             (Cellphones $200.00, J); (Food $200.00, J) .............................................................................                                                $1,800.00

                                                                               15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                                                                                                                                 $4,750.00
                                                                                   attached for Part 3. Write that number here ...........................................................................................


                                                                                Part 4:            Describe Your Financial Assets
                                                                               Do you own or have any legal or equitable interest in any of the following? (List the current value of the portion you own. Do not deduct
                                                                               secured claims or exemptions)



                                                                               16. Cash
                                                                                    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                                                                                    petition

                                                                                          No
                                                                                          Yes Cash on Hand $40.00 (J) ............................................................................................................                                     $40.00

                                                                               17. Deposits of money
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                                                                                    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
                                                                                    houses, and other similar institutions. If you have multiple accounts with the same institution, list each.

                                                                                          No
                                                                                          Yes Santander Checking Account XXXXXXXX7564 $1,842.99 (D1) ..............................................                                                                  $1,842.99

                                                                                                 Santander Checking Account No XXXXXXXX9747 $839.84 (D2) ...........................................                                                                  $839.84

                                                                                                 Santander Savings Account No XXXXXXX5835 $5.00 (D1) ....................................................                                                               $5.00

                                                                                                 Checking Account (Disabled Adult Child Account) Account No XXXXXXX9739 $882.99
                                                                                                 (J) .................................................................................................................................................                $882.99

                                                                               18. Bonds, mutual funds, or publicly traded stocks
                                                                                    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                    $0.00

                                                                               19. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
                                                                                   including an interest in an LLC, partnership, and joint venture

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                    $0.00

                                                                               20. Government and corporate bonds and other negotiable and non-negotiable instruments
                                                                                    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
                                                                                    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                    $0.00

                                                                               21. Retirement or pension accounts
                                                                                    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing
                                                                                    plans




                                                                               Official Form 106A/B                                                                   Schedule A/B: Property                                                                            Page 3
                                                                                               Case 19-40372                        Doc 1             Filed 03/11/19 Entered 03/11/19 17:39:15                                                         Desc Main
                                                                               Debtor 1    Roland W. Tremblay Jr.                                                                                                                                              Case number:
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                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               22. Security deposits and prepayments
                                                                                   Your share of all unused deposits you have made so that you may continue service or use from a company.
                                                                                   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                                                                                   companies, or others

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               24. Interests in an education IRA as defined in 26 U.S.C. § 530(b)(1) or under a qualified state tuition
                                                                                   plan as defined in 26 U.S.C. § 529(b)(1).

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights
                                                                                   or powers exercisable for your benefit

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
                                                                                   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               27. Licenses, franchises, and other general intangibles
                                                                                   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
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                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               28. Tax refunds owed to you
                                                                                   Give specific information about them, including whether you already filed the returns and the tax years

                                                                                          No
                                                                                          Yes 2018 Fed Tax Refund $3,632.00 [2018] (J)................................................................................                                             $3,632.00

                                                                                                 2018 MA Tax Refund $1,794.00 [2018] (J).................................................................................                                          $1,794.00

                                                                               29. Family support
                                                                                   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                                                                                   settlement

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               30. Other amounts someone owes you
                                                                                   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                   compensation, Social Security benefits; unpaid loans you made to someone else

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00

                                                                               31. Interests in insurance policies
                                                                                   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s
                                                                                   insurance. Name the insurance company of each policy and the beneficiary, and list its value

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                  $0.00




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                           Page 4
                                                                                                Case 19-40372                        Doc 1             Filed 03/11/19 Entered 03/11/19 17:39:15                                                         Desc Main
                                                                               Debtor 1     Roland W. Tremblay Jr.                                                                                                                                              Case number:
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                                                                               32. Any interest in property that is due you from someone who has died
                                                                                     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
                                                                                     receive property because someone has died.

                                                                                           No
                                                                                           Yes ......................................................................................................................................................                 $0.00

                                                                               33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for
                                                                                   payment
                                                                                     Examples: Accidents, employment disputes, insurance claims, or rights to sue

                                                                                           No
                                                                                           Yes 04CR40010 (Restitution criminal matter) UNKNOWN (J).......................................................                                                       UNKNOWN

                                                                               34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor
                                                                                   and rights to set off claims

                                                                                           No
                                                                                           Yes ......................................................................................................................................................                 $0.00

                                                                               35. Any financial assets you did not already list

                                                                                           No
                                                                                           Yes ......................................................................................................................................................                 $0.00

                                                                               36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                                                                                                                                $9,036.82
                                                                                   attached for Part 4. Write that number here ...........................................................................................


                                                                                Part 5:             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

                                                                               37. Do you own or have any legal or equitable interest in any business-related property?
                                                                                       No. Go to part 6.
                                                                                       Yes. Go to line 38.
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                                                                                Part 6:             Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                                                                                    If you own or have an interest in farmland, list it in Part 1.

                                                                               46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related
                                                                                   property?
                                                                                       No. Go to part 7.
                                                                                       Yes. Go to line 47.


                                                                                Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

                                                                               53. Do you have other property of any kind you did not already list?
                                                                                     Examples: Season tickets, country club membership
                                                                                           No
                                                                                           Yes Pool $140.00 (J) ..........................................................................................................................                          $140.00

                                                                                                  Hot Tub $200.00 (J).....................................................................................................................                          $200.00

                                                                               54. Add the dollar value of all of your entries from Part 7, including any entries for pages you have
                                                                                   attached for Part 7. Write that number here ...........................................................................................                                          $340.00


                                                                                Part 8:             List the Totals of Each Part of this Form

                                                                               55. Part 1: Total real estate, line 2 .................................................................................................................                          $199,000.00

                                                                               56. Part 2: Total vehicles, line 5.............................................................................                                        $12,213.00

                                                                               57. Part 3: Total personal and household items, line 15 .....................................                                                            $4,750.00

                                                                               58. Part 4: Total financial assets, line 36 ..............................................................                                               $9,036.82

                                                                               59. Part 5: Total business-related property, line 45.............................................




                                                                               Official Form 106A/B                                                                   Schedule A/B: Property                                                                          Page 5
                                                                                              Case 19-40372                 Doc 1         Filed 03/11/19 Entered 03/11/19 17:39:15                                        Desc Main
                                                                               Debtor 1    Roland W. Tremblay Jr.                                                                                                                 Case number:
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                                                                               60. Part 6: Total farm- and fishing-related property, line 52 ...............................

                                                                               61. Part 7: Total other property not listed, line 54 ...............................................                            $340.00

                                                                               62. Total personal property. Add lines 56 through 61....................................................................................               $26,339.82

                                                                               63. Total of all property on Schedule A/B. Add line 55 + line 62 ..................................................................               $225,339.82
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                                                                               Official Form 106A/B                                                    Schedule A/B: Property                                                              Page 6
                                                                                                 Case 19-40372            Doc 1      Filed 03/11/19 Entered 03/11/19 17:39:15                              Desc Main
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Roland W. Tremblay Jr.

                                                                                    Debtor 2        Lisa J. Tremblay
                                                                                    (Spouse, if filing)                                                                                                   Check if this is an amended
                                                                                                                                                                                                          filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106C
                                                                               Schedule C: The Property You Claim as Exempt                                                                                                   04/16


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
                                                                               the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
                                                                               needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
                                                                               and case number (if known).

                                                                               For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
                                                                               specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
                                                                               any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
                                                                               funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
                                                                               exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
                                                                               to the applicable statutory amount.


                                                                                Part 1:              Identify the Property You Claim as Exempt

                                                                               1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
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                                                                                            You are claiming Massachusetts Exemptions (04/07/2011) and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
                                                                                            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

                                                                               2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
                                                                                                                             Current value of the
                                                                                                                                                     Amount of the exemption you claim
                                                                                     Brief description of the property        portion you own
                                                                                    and line on Schedule A/B that lists                                                                         Specific laws that allow exemption
                                                                                                                                                          Check only one box for each
                                                                                               this property                 Copy the value from
                                                                                                                                                                  exemption
                                                                                                                               Schedule A/B

                                                                                 32 Crestwood Drive, Southbridge, MA                 $199,000.00          $125,000.00                          Mass. Gen. L. c. 235, § 34,
                                                                                 01550 (Line 1)                                                           100% of fair market value, up to     Fourteenth; c. 188, § 4
                                                                                                                                                          any applicable statutory limit

                                                                                 2015 Dodge Caravan (Line 3)                          $12,213.00          $1.00 + $4,713.00                    Mass. Gen. L. c. 235, § 34, Sixteenth
                                                                                                                                                          100% of fair market value, up to     and Mass. Gen. L. c. 235, § 34,
                                                                                                                                                          any applicable statutory limit       Seventeenth

                                                                                 Household Furnishings (Line 6)                        $1,000.00          $1,000.00                            Mass. Gen. L. c. 235, § 34, Second
                                                                                                                                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 Range (Line 6)                                          $100.00          $100.00                              Mass. Gen. L. c. 235, § 34, First
                                                                                                                                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 Refrigerator (Line 6)                                   $100.00          $100.00                              Mass. Gen. L. c. 235, § 34, First
                                                                                                                                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 Washer-Dryer Necessary for                              $300.00          $300.00                              Mass. Gen. L. c. 235, § 34, Second
                                                                                 Household Use (Line 6)                                                   100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit




                                                                               Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                   Page 1
                                                                                            Case 19-40372               Doc 1     Filed 03/11/19 Entered 03/11/19 17:39:15                        Desc Main
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                                                                                                                         Current value of the
                                                                                                                                                Amount of the exemption you claim
                                                                                  Brief description of the property       portion you own
                                                                                 and line on Schedule A/B that lists                                                                   Specific laws that allow exemption
                                                                                                                                                    Check only one box for each
                                                                                            this property                 Copy the value from
                                                                                                                                                            exemption
                                                                                                                            Schedule A/B

                                                                                Desktop Computer (Line 7)                             $100.00       $100.00                            Mass. Gen. L. c. 235, § 34, Twelfth
                                                                                                                                                    100% of fair market value, up to
                                                                                                                                                    any applicable statutory limit

                                                                                Laptop Computer (Line 7)                               $50.00       $50.00                             Mass. Gen. L. c. 235, § 34, Twelfth
                                                                                                                                                    100% of fair market value, up to
                                                                                                                                                    any applicable statutory limit

                                                                                Laptop Computer (Line 7)                               $50.00       $50.00                             Mass. Gen. L. c. 235, § 34, Twelfth
                                                                                                                                                    100% of fair market value, up to
                                                                                                                                                    any applicable statutory limit

                                                                                Firearms (Line 10)                                    $500.00       $500.00                            Mass. Gen. L. c. 235, § 34,
                                                                                                                                                    100% of fair market value, up to   Seventeenth
                                                                                                                                                    any applicable statutory limit

                                                                                Clothing (Line 11)                                    $750.00       $750.00                            Mass. Gen. L. c. 235, § 34, First
                                                                                                                                                    100% of fair market value, up to
                                                                                                                                                    any applicable statutory limit

                                                                                Cellphones (Line 14)                                  $200.00       $200.00                            Mass. Gen. L. c. 235, § 34, Second
                                                                                                                                                    100% of fair market value, up to
                                                                                                                                                    any applicable statutory limit

                                                                                Food (Line 14)                                        $200.00       $200.00                            Mass. Gen. L. c. 235, § 34, Seventh
                                                                                                                                                    100% of fair market value, up to
                                                                                                                                                    any applicable statutory limit

                                                                                Pellet Stove - Heating Unit (Line 14)               $1,000.00       $1,000.00                          Mass. Gen. L. c. 235, § 34, First
                                                                                                                                                    100% of fair market value, up to
                                                                                                                                                    any applicable statutory limit
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                                                                                Tools, Necessary for Maintenance of                   $400.00       $400.00                            Mass. Gen. L. c. 235, § 34,
                                                                                Home; i.e., Lawnmower, String                                       100% of fair market value, up to   Seventeenth
                                                                                trimmer, Blower, Generator,                                         any applicable statutory limit
                                                                                Snowblower (Line 14)

                                                                                Cash on Hand (Line 16)                                 $40.00       $40.00                             Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                                                                                    100% of fair market value, up to   & c. 246, § 28A
                                                                                                                                                    any applicable statutory limit

                                                                                Checking Account (Disabled Adult                      $882.99       $882.99                            Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                Child Account) Account No                                           100% of fair market value, up to   & c. 246, § 28A
                                                                                XXXXXXX9739 (Line 17)                                               any applicable statutory limit

                                                                                Santander Checking Account No                         $839.84       $839.84                            Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                XXXXXXXX9747 (Line 17)                                              100% of fair market value, up to   & c. 246, § 28A
                                                                                                                                                    any applicable statutory limit

                                                                                Santander Checking Account                          $1,842.99       $1,842.99                          Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                XXXXXXXX7564 (Line 17)                                              100% of fair market value, up to   & c. 246, § 28A
                                                                                                                                                    any applicable statutory limit

                                                                                Santander Savings Account No                            $5.00       $5.00                              Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                XXXXXXX5835 (Line 17)                                               100% of fair market value, up to   & c. 246, § 28A
                                                                                                                                                    any applicable statutory limit

                                                                                2018 Fed Tax Refund (Line 28)                       $3,632.00       $3,632.00                          Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                                                                                    100% of fair market value, up to   & c. 246, § 28A
                                                                                                                                                    any applicable statutory limit

                                                                                2018 MA Tax Refund (Line 28)                        $1,794.00       $1,794.00                          Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                                                                                    100% of fair market value, up to   & c. 246, § 28A
                                                                                                                                                    any applicable statutory limit

                                                                                04CR40010 (Restitution criminal                   UNKNOWN           $6,047.00                          Mass. Gen. L. c. 235, § 34,
                                                                                matter) (Line 33)                                                   100% of fair market value, up to   Seventeenth
                                                                                                                                                    any applicable statutory limit




                                                                               Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               Page 2
                                                                                               Case 19-40372                 Doc 1     Filed 03/11/19 Entered 03/11/19 17:39:15                                Desc Main
                                                                               Debtor 1     Roland W. Tremblay Jr.                                                                                                          Case number:
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                                                                                                                              Current value of the
                                                                                                                                                       Amount of the exemption you claim
                                                                                     Brief description of the property         portion you own
                                                                                    and line on Schedule A/B that lists                                                                           Specific laws that allow exemption
                                                                                                                                                            Check only one box for each
                                                                                               this property                   Copy the value from
                                                                                                                                                                    exemption
                                                                                                                                 Schedule A/B

                                                                                Hot Tub (Line 53)                                          $200.00          $200.00                               Mass. Gen. L. c. 235, § 34,
                                                                                                                                                            100% of fair market value, up to      Seventeenth
                                                                                                                                                            any applicable statutory limit

                                                                                Pool (Line 53)                                             $140.00          $140.00                               Mass. Gen. L. c. 235, § 34,
                                                                                                                                                            100% of fair market value, up to      Seventeenth
                                                                                                                                                            any applicable statutory limit

                                                                                                                     Total             $225,339.82                               $149,887.82

                                                                               3.     Are you claiming a homestead exemption of more than $160,375.00?
                                                                                      (Subject to adjustment on 04/01/2019 and every 3 years after that for cases filed on or after the date of adjustment.)
                                                                                           No
                                                                                           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                                                                                                No
                                                                                                Yes
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                                                                               Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                 Page 3
                                                                                                       Case 19-40372                 Doc 1            Filed 03/11/19 Entered 03/11/19 17:39:15                                                 Desc Main
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                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1           Roland W. Tremblay Jr.

                                                                                     Debtor 2           Lisa J. Tremblay
                                                                                     (Spouse, if filing)                                                                                                                                      Check if this is an amended
                                                                                                                                                                                                                                              filing
                                                                                     United States Bankruptcy Court for the District of Massachusetts

                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106D
                                                                               Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                          12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.      Do any creditors have claims secured by your property?
                                                                                           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
                                                                                           Yes. Fill in all of the information below.


                                                                                Part 1:                 List All Secured Claims
                                                                               2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If more than one creditor has a
                                                                                       particular claim, list the other creditors in Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name.

                                                                                                                                                                                                            Column A                    Column B             Column C
                                                                                                                                                                                                          Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                         Do not deduct the value   that supports this          if any
                                                                                                                                                                                                             of the collateral
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                                                                                                                                                                                                                                         claim

                                                                               2.1                                                         Describe the property that secures the claim:                        $177,403.00             $199,000.00
                                                                               Guild Mortgage Company                                           32 Crestwood Drive, Southbridge, MA
                                                                               Creditor's Name                                                  01550
                                                                               P.o. Box 85304
                                                                               Number Street                                               As of the date you file, the claim is: Check all that apply
                                                                                                                                                 Contingent
                                                                                                                                                 Unliquidated
                                                                               San Diego CA 92186                                                Disputed
                                                                               City, State, ZIP Code
                                                                               Who owes the debt? Check one.                               Nature of lien. Check all that apply
                                                                                   Debtor 1 only                                                An agreement you made (such as
                                                                                   Debtor 2 only                                                mortgage or secured car loan)
                                                                                   Debtor 1 and Debtor 2 only                                   Statutory lien (such as tax lien, mechanic’s
                                                                                   At least one of the debtors and another                      lien)
                                                                                                                                                Judgment lien from a lawsuit
                                                                                       Check if this claim relates to a community               Other (including a right to offset)
                                                                                       debt
                                                                                                                                           Last 4 digits of account number: -8845
                                                                               Date debt was incurred: 10/2015

                                                                               2.2                                                         Describe the property that secures the claim:                         $14,700.00               $12,213.00              $2,487.00
                                                                               Workers Credit Union                                             2015 Dodge Caravan
                                                                               Creditor's Name
                                                                               815 Main St                                                 As of the date you file, the claim is: Check all that apply
                                                                               Number Street                                                     Contingent
                                                                                                                                                 Unliquidated
                                                                                                                                                 Disputed
                                                                               Fitchburg MA 01420
                                                                               City, State, ZIP Code                                       Nature of lien. Check all that apply
                                                                               Who owes the debt? Check one.                                    An agreement you made (such as
                                                                                   Debtor 1 only                                                mortgage or secured car loan)
                                                                                   Debtor 2 only                                                Statutory lien (such as tax lien, mechanic’s
                                                                                   Debtor 1 and Debtor 2 only                                   lien)
                                                                                   At least one of the debtors and another                      Judgment lien from a lawsuit
                                                                                                                                                Other (including a right to offset)
                                                                                       Check if this claim relates to a community
                                                                                       debt                                                Last 4 digits of account number: -7694

                                                                               Date debt was incurred: 01/2017

                                                                               Add the dollar value of your entries in Column A. Write that number here: .............................................       $192,103.00



                                                                               Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 1
                                                                                                 Case 19-40372            Doc 1      Filed 03/11/19 Entered 03/11/19 17:39:15                            Desc Main
                                                                               Debtor 1      Roland W. Tremblay Jr.                                                                                                 Case number:
                                                                                                                                      Document     Page 20 of 72


                                                                                Part 2:                List Others to Be Notified for a Debt That You Already Listed
                                                                                Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a
                                                                                collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection
                                                                                agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here.
                                                                                If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.


                                                                               1                                                                          On which line in Part 1 did you enter the creditor? 2.2
                                                                               Workers Credit Union
                                                                               Creditor's Name                                                            Last 4 digits of account number:
                                                                               Tracey B Harding, Esq.
                                                                               Number Street
                                                                               21 Park Street

                                                                               Ayer MA 01432
                                                                               City, State, ZIP Code
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                                                                               Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                   Page 2
                                                                                                       Case 19-40372          Doc 1    Filed 03/11/19 Entered 03/11/19 17:39:15                                     Desc Main
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                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1           Roland W. Tremblay Jr.

                                                                                     Debtor 2           Lisa J. Tremblay
                                                                                     (Spouse, if filing)                                                                                                            Check if this is an amended
                                                                                                                                                                                                                    filing
                                                                                     United States Bankruptcy Court for the District of Massachusetts

                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106E/F
                                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15


                                                                               Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
                                                                               List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
                                                                               A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
                                                                               creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
                                                                               needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
                                                                               top of any additional pages, write your name and case number (if known).


                                                                                Part 1:                  List All of Your PRIORITY Unsecured Claims
                                                                               1.     Do any creditors have priority unsecured claims against you?
                                                                                          No. Go to Part 2.
                                                                                          Yes.


                                                                                Part 2:                  List All of Your NONPRIORITY Unsecured Claims
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                                                                               3.     Do any creditors have nonpriority unsecured claims against you?
                                                                                          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                                                                                          Yes.

                                                                               4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
                                                                                      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims
                                                                                      already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority
                                                                                      unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                                                                 Total claim

                                                                               4.1                                                                 Last 4 digits of account number: -8887                                               $249.00
                                                                               At T Directv
                                                                               Nonpriority Creditor's Name                                         When was the debt incurred: 05/2018
                                                                               PO Box 57547
                                                                               Number Street                                                       As of the date you file, the claim is: Check all that apply
                                                                                                                                                         Contingent
                                                                                                                                                         Unliquidated
                                                                               Jacksonville FL 32241                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                      Student loans
                                                                                     Debtor 2 only                                                      Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                         you did not report as priority claims
                                                                                     At least one of the debtors and another                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                        Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 1
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.2                                                               Last 4 digits of account number: -7484                                          $525.95
                                                                               AtT Mobility
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/18/2018
                                                                               Sunrise Credit Srvc
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               260 Airport Plaza                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Farmingdale NY 11735                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.3                                                               Last 4 digits of account number: -NOWN                                          $903.71
                                                                               Cahill's Tire Center, Inc
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 07/19/2017
                                                                               33 Sutton Avenue
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Oxford MA 01540                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Personal Loan
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.4                                                               Last 4 digits of account number: -3234                                        $5,967.00
                                                                               Capital One
                                                                                                                                                 When was the debt incurred: 02/2016
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                                                                               Nonpriority Creditor's Name
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               P.O. Box 30285                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Salt Lake City UT 84130                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify ChargeAccount
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.5                                                               Last 4 digits of account number: -1749                                          $574.00
                                                                               Capital One
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 07/2014
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               P.O. Box 30285                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Salt Lake City UT 84130                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify CreditCard
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.6                                                               Last 4 digits of account number: -0824                                          $158.00
                                                                               Capital One
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 05/2014
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               P.O. Box 30285                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Salt Lake City UT 84130                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify CreditCard
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.7                                                               Last 4 digits of account number: -3341                                          $291.00
                                                                               Capital One
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 05/2017
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               P.O. Box 30285                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Salt Lake City UT 84130                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.8                                                               Last 4 digits of account number: -7036                                        $5,016.11
                                                                               Capital One Bank USA NA
                                                                                                                                                 When was the debt incurred: UNKNOWN
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 30281
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Salt Lake City UT 84130                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.9                                                               Last 4 digits of account number: -6269                                          $543.02
                                                                               Capital One Bank USA NA
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               PO Box 30281
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Salt Lake City UT 84130                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.10                                                              Last 4 digits of account number: -4087                                          $178.10
                                                                               Capital One Bank USA NA
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               PO Box 30281
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Salt Lake City UT 84130                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.11                                                              Last 4 digits of account number: -NOWN                                        $1,002.39
                                                                               Charles Tuite
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/24/2017
                                                                               PO Box 543
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Northborough MA 01532                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claim Judgement
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.12                                                              Last 4 digits of account number: -3927                                          $208.00
                                                                               Collection
                                                                                                                                                 When was the debt incurred: 12/2014
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                                                                               Nonpriority Creditor's Name
                                                                               476 W Vermont Ave
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Escondido CA 92025                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify FactoringCompanyAccount
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.13                                                              Last 4 digits of account number: -3875                                          $463.00
                                                                               Collection
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 12/2014
                                                                               476 W Vermont Ave
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Escondido CA 92025                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify FactoringCompanyAccount
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.14                                                              Last 4 digits of account number: -7385                                        $5,710.50
                                                                               Commonwealth of Mass
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               Dpt. of Unemplmt Assistance
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               19 Standord St.                                                         Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02114                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify UI and WTF, Interest and Penalties
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.15                                                              Last 4 digits of account number: -9654                                        $1,028.00
                                                                               Credit One Bank Na
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 05/2016
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               P.O. Box 98873                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Las Vegas NV 89193                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify CreditCard
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.16                                                              Last 4 digits of account number: -1655                                          $684.00
                                                                               Credit One Bank Na
                                                                                                                                                 When was the debt incurred: 06/2017
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                                                                               Nonpriority Creditor's Name
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               P.O. Box 98873                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Las Vegas NV 89193                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.17                                                              Last 4 digits of account number: -9839                                             $1.00
                                                                               Discover Fin Svcs Llc
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/2005
                                                                               P.O. Box 3025
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               New Albany OH 43054                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify CreditCard
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                               4.18                                                              Last 4 digits of account number:                                                $495.62
                                                                               Dr. Bruce S. Fieldman
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               48 Auburn St.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Auburn MA 01501                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claim Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.19                                                              Last 4 digits of account number: -NOWN                                        $8,094.33
                                                                               Emily Montalvo
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/06/2018
                                                                               c/o Sebastian Korth, Esq.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               12 Maples Street                                                        Contingent
                                                                                                                                                       Unliquidated
                                                                               Ludlow MA 01056                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Civil Claims Execution on Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.20                                                              Last 4 digits of account number: -4555                                       $21,280.00
                                                                               Everest Bus. Funding
                                                                                                                                                 When was the debt incurred: UNKNOWN
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                                                                               Nonpriority Creditor's Name
                                                                               GreenbergGrant&Richards
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               PO Box 571811                                                           Contingent
                                                                                                                                                       Unliquidated
                                                                               Houston TX 77257                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.21                                                              Last 4 digits of account number: -6916                                          $704.00
                                                                               First Premier Bank
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 07/2011
                                                                               3820 N Louise Ave
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sioux Falls SD 57107                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify CreditCard
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.22                                                              Last 4 digits of account number: -5781                                          $338.00
                                                                               First Premier Bank
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/2017
                                                                               Attn: Bankruptcy
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               PO Box 5524                                                             Contingent
                                                                                                                                                       Unliquidated
                                                                               Sioux Falls SD 57117                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.23                                                              Last 4 digits of account number: -NOWN                                       $10,512.10
                                                                               Ford Motor Credit Co
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 05/30/2007
                                                                               3620 Queen Palm Dr
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Sabal Pavilion                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Tampa FL 33619                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Civil Action Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.24                                                              Last 4 digits of account number: -NOWN                                       $10,863.05
                                                                               Ford Motor Credit Co
                                                                                                                                                 When was the debt incurred: 07/27/2007
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                                                                               Nonpriority Creditor's Name
                                                                               3620 Queen Palm Dr
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Sabal Pavilion                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Tampa FL 33619                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Civil Action Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.25                                                              Last 4 digits of account number: -0206                                       $20,150.52
                                                                               Ford Motor Credit Co
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               3620 Queen Palm Dr
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Sabal Pavilion                                                          Contingent
                                                                                                                                                       Unliquidated
                                                                               Tampa FL 33619                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Deficiency
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




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                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                               4.26                                                              Last 4 digits of account number: -1809                                        $6,594.00
                                                                               Gm Financial
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/2015
                                                                               P.O. Box 181145
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Arlington TX 76096                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Lease - Auto Lease Deficiency
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.27                                                              Last 4 digits of account number: -6954                                          $177.67
                                                                               Harrington Memorial Hosp.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 01/04/2018
                                                                               100 South Street
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Southbridge MA 01550                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.28                                                              Last 4 digits of account number: -9380                                           $36.71
                                                                               Harrington Physician Srvc
                                                                                                                                                 When was the debt incurred: 07/04/2018
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 40
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Southbridge MA 01550                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.29                                                              Last 4 digits of account number: -4810                                          $149.89
                                                                               Hugh M. Cooper, MD, PC
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 03/14/2018
                                                                               100 South Street
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Suite 200                                                               Contingent
                                                                                                                                                       Unliquidated
                                                                               Southbridge MA 01550                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                               4.30                                                              Last 4 digits of account number:                                              $6,429.29
                                                                               Internal Revenue Servic
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               Attn: Mrs. Couture
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Ste 600 120 Front St.                                                   Contingent
                                                                                                                                                       Unliquidated
                                                                               Worcester MA 01608                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes - 1040 Federal (2013)
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.31                                                              Last 4 digits of account number:                                              $7,043.70
                                                                               Internal Revenue Service
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 12/31/2014
                                                                               Centralized Insolvency Op.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Post Office Box 7346                                                    Contingent
                                                                                                                                                       Unliquidated
                                                                               Philadelphia PA 19101                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Income Taxes (1040 for year 2014)
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.32                                                              Last 4 digits of account number:                                              $5,589.93
                                                                               Internal Revenue Service
                                                                                                                                                 When was the debt incurred: 12/31/2010
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                                                                               Nonpriority Creditor's Name
                                                                               Attn: Mrs. Couture
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Ste 600 120 Front St.                                                   Contingent
                                                                                                                                                       Unliquidated
                                                                               Worcester MA 01608                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Income Taxes (1040 for year 2010)
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.33                                                              Last 4 digits of account number:                                             $20,277.49
                                                                               Internal Revenue Service
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 12/31/2015
                                                                               Attn: Mrs. Couture
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Ste 600 120 Front St.                                                   Contingent
                                                                                                                                                       Unliquidated
                                                                               Worcester MA 01608                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Income Taxes (1040 for 2015)
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




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                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.34                                                              Last 4 digits of account number: -1840                                        $7,559.00
                                                                               IPFS Corporation
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 12/08/2017
                                                                               PO Box 15089
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Worcester MA 01615                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.35                                                              Last 4 digits of account number: -9203                                           $33.45
                                                                               LINCARE INC
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               PO BOX 9515
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Buffalo NY 14226                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.36                                                              Last 4 digits of account number: -NOWN                                        $3,750.00
                                                                               Lisa Sealey
                                                                                                                                                 When was the debt incurred: 08/31/2016
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                                                                               Nonpriority Creditor's Name
                                                                               c/o Joseph Lussier, Esq.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               484 Main St Ste 420                                                     Contingent
                                                                                                                                                       Unliquidated
                                                                               Worcester MA 01608                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claim Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.37                                                              Last 4 digits of account number: -7385                                        $1,177.42
                                                                               MA Dept of Workforce Dev.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               19 Staniford St.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02114                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Interest and Penalties
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
                                                                                                                                       Document     Page 31 of 72

                                                                                                                                                                                                                          Total claim

                                                                               4.38                                                              Last 4 digits of account number: -7385                                        $4,533.08
                                                                               MA Dept of Workforce Dev.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               19 Staniford St.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02114                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes - (UI and WTF)
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.39                                                              Last 4 digits of account number: -NOWN                                        $1,154.56
                                                                               MA DOR
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               PO Box 7003
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02204                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes (State Income Tax Due)
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.40                                                              Last 4 digits of account number: -6228                                          $133.75
                                                                               MA DOT
                                                                                                                                                 When was the debt incurred: UNKNOWN
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                                                                               Nonpriority Creditor's Name
                                                                               E-ZDriveMA
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               27 Midstate Drive                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Auburn MA 01501                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Tolls
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.41                                                              Last 4 digits of account number: -3088                                          $785.18
                                                                               MA Health Connector
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               146 Main Street
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Worcester MA 01608                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Medical
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.42                                                              Last 4 digits of account number: -4105                                          $359.12
                                                                               Mitchell 1
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/01/2018
                                                                               25029 Network Place
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Chicago IL 60673                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.43                                                              Last 4 digits of account number: -5086                                        $1,601.47
                                                                               National Grid
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/22/2018
                                                                               P.O. Box 960
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Northborough MA 01532                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.44                                                              Last 4 digits of account number: -9087                                          $120.00
                                                                               Pratt Trucking Company
                                                                                                                                                 When was the debt incurred: 05/30/2018
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                                                                               Nonpriority Creditor's Name
                                                                               PO Box 795
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Webster MA 01570                                                        Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Trash Collection
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.45                                                              Last 4 digits of account number: -1000                                       $12,166.00
                                                                               Santander Consumer Usa
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 01/2011
                                                                               P.O. Box 961245
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Fort Worth TX 76161-1245                                                Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Automobile
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 12
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.46                                                              Last 4 digits of account number: -NOWN                                       $35,894.89
                                                                               Shamrock Finance LLC
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 07/26/2018
                                                                               74 Bare Hill Road
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Groveland MA 01834                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Civil Session Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.47                                                              Last 4 digits of account number: -NOWN                                          $576.00
                                                                               Sims Premier Fitness
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/24/2009
                                                                               306 Sturbridge Rd
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Charlton MA 01507                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claims Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.48                                                              Last 4 digits of account number: -NOWN                                        $2,207.05
                                                                               Southbridge Credit Union
                                                                                                                                                 When was the debt incurred: 12/18/2003
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                                                                               Nonpriority Creditor's Name
                                                                               222 Main St
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Southbridge MA 01550                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claim Judgment
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.49                                                              Last 4 digits of account number: -8804                                        $5,196.00
                                                                               U S Dept Of Ed Gsl Atl
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/2008
                                                                               P.O. Box 5609
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Greenville TX 75403                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Educational
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 13
                                                                                                       Case 19-40372          Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                     Case number:
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                                                                                                                                                                                                                          Total claim

                                                                               4.50                                                              Last 4 digits of account number: -9267                                       $10,696.00
                                                                               U S Dept Of Ed Gsl Atl
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/2008
                                                                               P.O. Box 5609
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Greenville TX 75403                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Educational
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.51                                                              Last 4 digits of account number: -8924                                          $233.00
                                                                               Verizon
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/2015
                                                                               P.O. Box 650584
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Dallas TX 75265                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Agriculture
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.52                                                              Last 4 digits of account number: -NOWN                                        $5,850.22
                                                                               Vincent OIl Company, Inc.
                                                                                                                                                 When was the debt incurred: 12/12/2006
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                                                                               Nonpriority Creditor's Name
                                                                               34 Newman Ave.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Southbridge MA 01550                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Civil Action Judgement
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.53                                                              Last 4 digits of account number: -NOWN                                        $7,472.42
                                                                               Vincent OIl Company, Inc.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 06/28/2012
                                                                               34 Newman Ave.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Southbridge MA 01550                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claims Judgement
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 14
                                                                                                       Case 19-40372          Doc 1    Filed 03/11/19 Entered 03/11/19 17:39:15                                           Desc Main
                                                                               Debtor 1         Roland W. Tremblay Jr.                                                                                                                     Case number:
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                                                                                                                                                                                                                                         Total claim

                                                                               4.54                                                              Last 4 digits of account number: -NOWN                                                        $6,392.60
                                                                               Vincent OIl Company, Inc.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/20/2008
                                                                               34 Newman Ave.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Southbridge MA 01550                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claims Mediation Order
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.55                                                              Last 4 digits of account number: -NOWN                                                           $398.25
                                                                               Worcester T&G
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 03/21/2011
                                                                               100 Front Street
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               Floor 5                                                                 Contingent
                                                                                                                                                       Unliquidated
                                                                               Worcester MA 01608                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Other - Small Claim Judgement
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.56                                                              Last 4 digits of account number: -NOWN                                                        $7,295.00
                                                                               Yellowstone Capital LLC
                                                                                                                                                 When was the debt incurred: 10/10/2016
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                                                                               Nonpriority Creditor's Name
                                                                               1 Evertrust Plaza
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Jersey City NJ 07302                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Personal Loan
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes



                                                                                Part 3:                  List Others to Be Notified for a Debt That You Already Listed
                                                                               5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
                                                                                      example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2,
                                                                                      then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list
                                                                                      the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit
                                                                                      this page.

                                                                               1                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               AtT Mobility                                                                     Line 4.2 of (Check one):              Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Sunrise Credit Srvc
                                                                               Number Street                                                                    Last 4 digits of account number:
                                                                               260 Airport Plaza

                                                                               Farmingdale NY 11735
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 15
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                                                                               2                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               AtT Mobility                                                       Line 4.2 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               260 Airport Plaza Blvd
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Farmingdale NY 11735
                                                                               City, State, ZIP Code



                                                                               3                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One                                                        Line 4.7 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1680 Capital One Dr.
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Mc Lean VA 22102
                                                                               City, State, ZIP Code



                                                                               4                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One                                                        Line 4.5 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1680 Capital One Dr.
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Mc Lean VA 22102
                                                                               City, State, ZIP Code



                                                                               5                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One                                                        Line 4.4 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1680 Capital One Dr.
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                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Mc Lean VA 22102
                                                                               City, State, ZIP Code



                                                                               6                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One                                                        Line 4.6 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1680 Capital One Dr.
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Mc Lean VA 22102
                                                                               City, State, ZIP Code



                                                                               7                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank Usa N                                             Line 4.6 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 30281
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Salt Lake City UT 84130
                                                                               City, State, ZIP Code




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                                                                               8                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank Usa N                                             Line 4.4 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 30281
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Salt Lake City UT 84130
                                                                               City, State, ZIP Code



                                                                               9                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank Usa N                                             Line 4.5 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 30281
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Salt Lake City UT 84130
                                                                               City, State, ZIP Code



                                                                               10                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank Usa N                                             Line 4.7 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 30281
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Salt Lake City UT 84130
                                                                               City, State, ZIP Code



                                                                               11                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank USA NA                                            Line 4.9 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Client Services Inc
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                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               3451 Harry S Truman Blvd.

                                                                               Saint Charles MO 63301
                                                                               City, State, ZIP Code



                                                                               12                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank USA NA                                            Line 4.8 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1680 Capital One Dr
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Mc Lean VA 22102
                                                                               City, State, ZIP Code



                                                                               13                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank USA NA                                            Line 4.8 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Client Services Inc
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               3451 Harry S Truman Blvd.

                                                                               Saint Charles MO 63301
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 17
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                                                                               14                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank USA NA                                            Line 4.9 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1680 Capital One Dr
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Mc Lean VA 22102
                                                                               City, State, ZIP Code



                                                                               15                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank USA NA                                            Line 4.10 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Client Services Inc
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               3451 Harry S Truman Blvd.

                                                                               Saint Charles MO 63301
                                                                               City, State, ZIP Code



                                                                               16                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Capital One Bank USA NA                                            Line 4.10 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1680 Capital One Dr
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Mc Lean VA 22102
                                                                               City, State, ZIP Code



                                                                               17                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Collection                                                         Line 4.12 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               120 Corporate Blvd Ste 100
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                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Norfolk VA 23502
                                                                               City, State, ZIP Code



                                                                               18                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Collection                                                         Line 4.13 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               120 Corporate Blvd Ste 100
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Norfolk VA 23502
                                                                               City, State, ZIP Code



                                                                               19                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Credit One Bank Na                                                 Line 4.15 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 98872
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Las Vegas NV 89193
                                                                               City, State, ZIP Code




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                                                                                                 Case 19-40372        Doc 1   Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
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                                                                               20                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Credit One Bank Na                                                 Line 4.16 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 98872
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Las Vegas NV 89193
                                                                               City, State, ZIP Code



                                                                               21                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Credit Protection Association, L.P.                                Line 4.43 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               13355 Noel Road
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               Suite 2100

                                                                               Dallas TX 75240
                                                                               City, State, ZIP Code



                                                                               22                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Discover Fin Svcs Llc                                              Line 4.17 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               POB 15316
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Wilmington DE 19850
                                                                               City, State, ZIP Code



                                                                               23                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.48 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 364SC000421
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                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               24                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.18 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 264SC000110
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               25                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.47 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 964SC0000665
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code




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                                                                               26                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.55 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 1064SC001414
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               27                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.52 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 664CV000320
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               28                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.53 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 1264SC000175
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               29                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.11 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 1764SC1240
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                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               30                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.23 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 764CV000243
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               31                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.54 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 764SP000031
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code




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                                                                               32                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.24 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 764CV000266
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               33                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Dudley District Ct.                                                Line 4.36 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 1664SC000379
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               279 West Main Street

                                                                               Dudley MA 01571
                                                                               City, State, ZIP Code



                                                                               34                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               ERC                                                                Line 4.1 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               8014 Bayberry Rd.
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Jacksonville FL 32256
                                                                               City, State, ZIP Code



                                                                               35                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               First Down Funding                                                 Line 4.20 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               27 Maryland Ave.
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                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Annapolis MD 21401
                                                                               City, State, ZIP Code



                                                                               36                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Frank J. Maier, Esq.                                               Line 4.55 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               500 Main St.
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               Suite 580

                                                                               Worcester MA 01608
                                                                               City, State, ZIP Code



                                                                               37                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Frank J. Maier, Esq.                                               Line 4.18 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               500 Main St.
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               Suite 580

                                                                               Worcester MA 01608
                                                                               City, State, ZIP Code




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                                                                               38                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Frank J. Maier, Esq.                                               Line 4.48 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               500 Main St.
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               Suite 580

                                                                               Worcester MA 01608
                                                                               City, State, ZIP Code



                                                                               39                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Internal Revenue Service                                           Line 4.31 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Attn: Mrs. Couture
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               Ste 600 120 Front St.

                                                                               Worcester MA 01608
                                                                               City, State, ZIP Code



                                                                               40                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               James J. McNutty, Esq.                                             Line 4.46 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               40 Court St.
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               Ste. 1150

                                                                               Boston MA 02108
                                                                               City, State, ZIP Code



                                                                               41                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Jennie Lynn Caissie, Esq.                                          Line 4.54 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Michael V. Caplette
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                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               Three Bowlen Ave

                                                                               Southbridge MA 01550
                                                                               City, State, ZIP Code



                                                                               42                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               John Morgan                                                        Line 4.20 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Lincoln & Morgan, LLC
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               600 W Broadway St 700

                                                                               San Diego CA 92101
                                                                               City, State, ZIP Code



                                                                               43                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Kenneth C. Wilson, Esq.                                            Line 4.23 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Lustig Glaser&Wilson, PC
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               245 Winter St

                                                                               Waltham MA 02451
                                                                               City, State, ZIP Code




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                                                                               44                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Kenneth C. Wilson, Esq.                                            Line 4.24 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Lustig Glaser&Wilson, PC
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               245 Winter St

                                                                               Waltham MA 02451
                                                                               City, State, ZIP Code



                                                                               45                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Lustig, Glasser & Wilson, P.C.                                     Line 4.25 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               File #1A866
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               PO Box 549287

                                                                               Waltham MA 02454
                                                                               City, State, ZIP Code



                                                                               46                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Michael V. Caplette, Esq.                                          Line 4.53 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Three Bowlen Ave
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Southbridge MA 01550
                                                                               City, State, ZIP Code



                                                                               47                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Michael V. Caplette, Esq.                                          Line 4.52 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Three Bowlen Ave
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                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Southbridge MA 01550
                                                                               City, State, ZIP Code



                                                                               48                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               National Grid                                                      Line 4.43 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               National Grid
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               P.O. Box 960

                                                                               Northborough MA 01532-0960
                                                                               City, State, ZIP Code



                                                                               49                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Salem Distrcit Court                                               Line 4.46 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 1836CV000363
                                                                               Number Street                                                      Last 4 digits of account number:
                                                                               56 Federal St

                                                                               Salem MA 01970
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 23
                                                                                                 Case 19-40372                           Doc 1              Filed 03/11/19 Entered 03/11/19 17:39:15                                                         Desc Main
                                                                               Debtor 1      Roland W. Tremblay Jr.                                                                                                                                                          Case number:
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                                                                               50                                                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Southbridge Credit Union                                                                                       Line 4.48 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               44445 Lake Forest Dr
                                                                               Number Street                                                                                                  Last 4 digits of account number:
                                                                               Suite 350

                                                                               Cincinnati OH 45242
                                                                               City, State, ZIP Code



                                                                               51                                                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Springfield District Ct.                                                                                       Line 4.19 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               Re: 1823CV433
                                                                               Number Street                                                                                                  Last 4 digits of account number:
                                                                               50 State Street

                                                                               Springfield MA 01103
                                                                               City, State, ZIP Code



                                                                               52                                                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Yellowstone Capital LLC                                                                                        Line 4.56 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               30 Broad Street
                                                                               Number Street                                                                                                  Last 4 digits of account number:
                                                                               14th Floor, Ste 1462

                                                                               New York NY 10004
                                                                               City, State, ZIP Code




                                                                                Part 4:                Add the Amounts for Each Type of Unsecured Claim
                                                                               6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
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                                                                                     Add the amounts for each type of unsecured claim.

                                                                                                                                                                                                                                                               Total claim

                                                                               Total
                                                                               claims from
                                                                               Part 1              6a. Domestic support obligations .................................................................................................                  6a.                 $0.00

                                                                                                   6b. Taxes and certain other debts you owe the government .....................................................                                      6b.                 $0.00

                                                                                                   6c. Claims for death or personal injury while you were intoxicated..........................................                                        6c.                 $0.00

                                                                                                   6d. Other. Add all other priority unsecured claims. Write that amount here.....................................                                     6d.                 $0.00

                                                                                                   6e. Total Add lines 6a through 6d. ...................................................................................................              6e.                 $0.00

                                                                               Total
                                                                               claims from
                                                                               Part 2              6f. Student loans .............................................................................................................................     6f.                 $0.00

                                                                                                   6g. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                                   priority claims .................................................................................................................................   6g.                 $0.00

                                                                                                   6h. Debts to pension or profit-sharing plans, and other similar debts......................................                                         6h.                 $0.00

                                                                                                   6i. Other. Add all other nonpriority unsecured claims. Write that amount here................................                                       6i.         $257,823.54

                                                                                                   6j. Total. Add lines 6f through 6i. .....................................................................................................           6j.         $257,823.54




                                                                               Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                                              Page 24
                                                                                                 Case 19-40372           Doc 1        Filed 03/11/19 Entered 03/11/19 17:39:15                               Desc Main
                                                                                                                                       Document     Page 45 of 72

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Roland W. Tremblay Jr.

                                                                                    Debtor 2        Lisa J. Tremblay
                                                                                    (Spouse, if filing)                                                                                                      Check if this is an amended
                                                                                                                                                                                                             filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106G
                                                                               Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.    Do you have any executory contracts or unexpired leases?
                                                                                         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                                                                                         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
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                                                                               Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1
                                                                                                 Case 19-40372           Doc 1     Filed 03/11/19 Entered 03/11/19 17:39:15                        Desc Main
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Roland W. Tremblay Jr.

                                                                                    Debtor 2        Lisa J. Tremblay
                                                                                    (Spouse, if filing)                                                                                            Check if this is an amended
                                                                                                                                                                                                   filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106H
                                                                               Schedule H: Your Codebtors                                                                                                            12/15


                                                                               Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
                                                                               people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
                                                                               fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages,
                                                                               write your name and case number (if known). Answer every question.

                                                                               1.    Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                                                                                         No
                                                                                         Yes

                                                                               2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and
                                                                                     territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                                                                                           No. Go to line 3.
                                                                                           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                                                                                                No
                                                                                                Yes. In which community state or territory did you live? . Fill in the name and current address of that person.
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                                                                               3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List
                                                                                     the person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed
                                                                                     the creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form
                                                                                     106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

                                                                               Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                                                                                        Check all schedules that apply




                                                                               Official Form 106H                                          Schedule H: Your Codebtors                                                    Page 1
                                                                                                 Case 19-40372           Doc 1        Filed 03/11/19 Entered 03/11/19 17:39:15                         Desc Main
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Roland W. Tremblay Jr.
                                                                                                                                                                                                  Check if this is:
                                                                                    Debtor 2        Lisa J. Tremblay
                                                                                                                                                                                                      An amended filing
                                                                                    (Spouse, if filing)
                                                                                                                                                                                                      A supplement showing
                                                                                                                                                                                                      post-petition chapter 13
                                                                                    United States Bankruptcy Court for the District of Massachusetts
                                                                                                                                                                                                      income as of
                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106I
                                                                               Schedule I: Your Income                                                                                                                    12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                               supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
                                                                               spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
                                                                               attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Employment
                                                                               1.    Fill in your employment                                                 Debtor 1                          Debtor 2 or non-filing spouse
                                                                                     information                             Employment status                  Employed                         Employed
                                                                                                                                                                Not employed                     Not employed
                                                                                     If you have more than one job,
                                                                                     attach a separate page with             Occupation                      Support Engineer                  Caregiver
                                                                                     information about additional            Employer's name                 United Medical Systems De, Inc.   Social Security Disability
                                                                                     employers.                              Employer's address              1700 West Park Drive
                                                                                                                                                             Westborough, MA 01581
                                                                                     Include part-time, seasonal, or
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                                                                                     self-employed work.                     How long employed there?

                                                                                     Occupation may include student or
                                                                                     homemaker, if it applies.


                                                                                                                             Occupation                      Disabled Child Foster Care
                                                                                                                             Employer's name                 Seven Hills FS
                                                                                                                             Employer's address              Seven Hills Stipend (Family
                                                                                                                                                             Services)

                                                                                                                             How long employed there?


                                                                                                                             Occupation
                                                                                                                             Employer's name
                                                                                                                             Employer's address
                                                                                                                             How long employed there?


                                                                                Part 2:              Give Details About Monthly Income

                                                                               Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space.
                                                                               Including your non-filing spouse unless you are separated.

                                                                               If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                               below. If you need more space, attach a separate sheet to this form.




                                                                               Official Form 106I                                                 Schedule I: Your Income                                                      Page 1
                                                                                             Case 19-40372              Doc 1        Filed 03/11/19 Entered 03/11/19 17:39:15                Desc Main
                                                                               Debtor 1    Roland W. Tremblay Jr.                                                                                       Case number:
                                                                                                                                      Document     Page 48 of 72

                                                                                                                                                                                                     For Debtor 2
                                                                                                                                                                                                          or
                                                                                                                                                                                    For Debtor 1
                                                                                                                                                                                                      non-filing
                                                                                                                                                                                                       spouse
                                                                               2.   List monthly gross wages, salary, and commissions before all payroll deductions).          2.      $5,677.34         $788.50
                                                                                    If not paid monthly, calculate what the monthly wage would be.

                                                                               3.   Estimate and list monthly overtime pay.                                                    3.            $0.00          $0.00
                                                                               4.   Calculate gross income. Add line 2 + line 3.                                               4.      $5,677.34         $788.50
                                                                               5.   List All payroll deductions:

                                                                                    5a. Tax, Medicare, and Social Security deductions                                         5a.       $686.61             $0.00
                                                                                    5b. Mandatory contributions for retirement plans                                          5b.            $0.00          $0.00
                                                                                    5c. Voluntary contributions for retirement plans                                          5c.            $0.00          $0.00
                                                                                    5d. Required repayments of retirement fund loans                                          5d.            $0.00          $0.00
                                                                                    5e. Insurance                                                                             5e.       $330.89          $135.50
                                                                                    5f.   Domestic support obligations                                                        5f.            $0.00          $0.00
                                                                                    5g. Union dues                                                                            5g.            $0.00          $0.00
                                                                                    5h. Other deductions. Specify:                                                            5h.            $0.00          $0.00
                                                                               6.   Add the payroll deductions. Add lines 5a through 5h                                        6.      $1,017.51         $135.50
                                                                               7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                        7.      $4,659.83         $653.00
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                                                                               8.   List all other income regularly received:

                                                                                    8a. Net income from rental property and from operating a business, profession,            8a.            $0.00          $0.00
                                                                                        or farm

                                                                                          Attach a statement for each property and business showing gross receipts,
                                                                                          ordinary and necessary business expenses, and the total monthly net income.

                                                                                    8b. Interest and dividends                                                                8b.            $0.00          $0.00
                                                                                    8c. Family support payments that you, a non-filing spouse, or a dependent                 8c.            $0.00          $0.00
                                                                                        regularly receive

                                                                                          Include alimony, spousal support, child support, maintenance, divorce settlement,
                                                                                          and property settlement.

                                                                                    8d. Unemployment compensation                                                             8d.            $0.00          $0.00
                                                                                    8e. Social Security                                                                       8e.            $0.00          $0.00
                                                                                    8f.   Other government assistance that you regularly receive                              8f.            $0.00          $0.00
                                                                                          Include cash assistance and the value (if known) of any non-cash assistance that
                                                                                          you receive, such as food stamps (benefits under the Supplemental Nutrition
                                                                                          Assistance Program) or housing subsidies. Specify:

                                                                                    8g. Pension or retirement income                                                          8g.            $0.00          $0.00
                                                                                    8h. Other monthly income. Specify:                                                        8h.            $0.00          $0.00
                                                                               9.   Add all other income. Add lines 8a-8h.                                                     9.            $0.00          $0.00
                                                                               10. Calculate monthly income. Add line 7 + line 9.                                                      10.      $5,312.83
                                                                                   Add the entries in line 9 for Debtor 1 and Debtor 2 or non-filing spouse.




                                                                               Official Form 106I                                              Schedule I: Your Income                                        Page 2
                                                                                              Case 19-40372            Doc 1        Filed 03/11/19 Entered 03/11/19 17:39:15               Desc Main
                                                                               Debtor 1    Roland W. Tremblay Jr.                                                                                   Case number:
                                                                                                                                     Document     Page 49 of 72

                                                                               11. State all other regular contributions to the expenses that you list in Schedule J                 11.       $601.58
                                                                                   (Official Form 106J).

                                                                                    Include contributions from an unmarried partner, members of your household, your
                                                                                    dependents, your roommates, and other friends or relatives.

                                                                                    Do not include any amounts already included in lines 2-10 or amounts that are not available to
                                                                                    pay expenses listed in Schedule J (Official Form 106J).

                                                                                    Specify: Disabled Child Income from SSI $514.00; Disabled Child Income from
                                                                                    MA $87.58
                                                                               12. Add the amounts on lines 10 and 11. The result is the combined monthly income. Also               12.
                                                                                   write that amount on the Summary of Your Assets and Liabilities and Certain Statistical                   $5,914.41
                                                                                   Information (Official Form 106Sum) if it applies.

                                                                               13. Do you expect an increase or decrease within the year after you file this form?


                                                                                          No
                                                                                          Yes.
                                                                                          Explain.....
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                                                                               Official Form 106I                                             Schedule I: Your Income                                     Page 3
                                                                                                  Case 19-40372             Doc 1        Filed 03/11/19 Entered 03/11/19 17:39:15                           Desc Main
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                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1        Roland W. Tremblay Jr.
                                                                                                                                                                                                      Check if this is:
                                                                                     Debtor 2        Lisa J. Tremblay
                                                                                                                                                                                                          An amended filing
                                                                                     (Spouse, if filing)
                                                                                                                                                                                                          A supplement showing
                                                                                                                                                                                                          post-petition chapter 13
                                                                                     United States Bankruptcy Court for the District of Massachusetts
                                                                                                                                                                                                          expenses as of
                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106J
                                                                               Schedule J: Your Expenses                                                                                                                     12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:               Describe Your Household
                                                                                1.      Is this a joint case?

                                                                                              No. Go to line 2.
                                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                                     No.
                                                                                                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2

                                                                               2.     Do you have dependents?                                            Dependent's                Dependent's age            Does dependent live
                                                                                                                                  No                     relationship to Debtor                                with you?
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                                                                                      Do not list Debtor 1 or Debtor 2.           Yes. Fill out this     1 or Debtor 2
                                                                                                                                  information for        Disabled Daughter          26                            No
                                                                                      Do not state the dependents'                each dependent                                                                  Yes
                                                                                      names.

                                                                               3.     Do your expenses include expenses of people other than yourself and your                        No
                                                                                      dependents?                                                                                     Yes


                                                                                Part 2:               Estimate Your Ongoing Monthly Expenses
                                                                               Estimate your expenses as your bankruptcy filing date unless you are using this form as supplement in a Chapter 13 case to report
                                                                               expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
                                                                               the applicable date

                                                                               Include expenses paid for with non-cash governmental assistance if you know the value of such assistance and have included it on
                                                                               Schedule I: Your Income(Official Form 106I).


                                                                                Note: Expenses for property other than the debtor(s)' primary residence(s), if any, are reported in the Summary of Business/Real-Estate Income &
                                                                                Expense annexed to Schedule I.

                                                                                                                                                                                                                Your
                                                                                                                                                                                                              expenses
                                                                               4.     The rental or home ownership expenses for your residence. Include first                                          4.       $1,386.00
                                                                                      mortgage payments and any rent for the ground or lot.

                                                                                      If not included in line 4:

                                                                                      4a. Real estate taxes                                                                                           4a.

                                                                                      4b. Property, homeowner's, or renter's insurance                                                                4b.

                                                                                      4c. Home maintenance, repair, and upkeep expenses                                                               4c.




                                                                               Official Form 106J                                                  Schedule J: Your Expenses                                                     Page 1
                                                                                             Case 19-40372               Doc 1     Filed 03/11/19 Entered 03/11/19 17:39:15           Desc Main
                                                                               Debtor 1   Roland W. Tremblay Jr.                                                                                  Case number:
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                                                                                                                                                                                         Your
                                                                                                                                                                                       expenses
                                                                                    4d. Homeowner's association or condominium dues                                             4d.

                                                                               5.   Additional mortgage payments for your residence, such as home equity loans                   5.

                                                                               6.   Utilities:

                                                                                    6a. Electricity, heat, natural gas                                                          6a.       $220.00
                                                                                    6b. Water, sewer, garbage collection                                                        6b.        $85.33
                                                                                    6c. Telephone, cell phone, Internet, satellite, and cable services                          6c.       $531.17
                                                                                    6d. Other. Specify:                                                                         6d.
                                                                                                 Home Maintenance and Upkeep                                                              $100.00
                                                                                                 Amazon Prime                                                                              $12.99
                                                                                                 Pellet Stove Heat                                                                         $75.00
                                                                               7.   Food and housekeeping supplies                                                               7.     $1,350.00
                                                                               8.   Childcare and children’s education costs                                                     8.

                                                                               9.   Clothing, laundry, and dry cleaning                                                          9.       $300.00
                                                                               10. Personal care products and services                                                          10.        $75.00
                                                                               11. Medical and dental expenses                                                                  11.       $145.50
                                                                               12. Transportation. Include gas, maintenance, bus or train fare.                                 12.       $288.66
                                                                                   Do not include car payments.

                                                                               13. Entertainment, clubs, recreation, newspapers, magazine, and books                            13.        $75.00
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                                                                               14. Charitable contributions and religious donations                                             14.

                                                                               15. Insurance.
                                                                                   Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                    15a. Life insurance                                                                        15a.        $60.00
                                                                                    15b. Health insurance                                                                      15b.        $32.00
                                                                                    15c. Vehicle insurance                                                                     15c.        $90.18
                                                                                    15d. Other insurance. Specify: N/A                                                         15d.

                                                                               16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. Specify:    16.

                                                                                          Past Income Taxes Owed                                                                          $441.66
                                                                               17. Installment or lease payments

                                                                                    17a. Automobile (2015 Dodge Caravan)                                                       17a.       $350.04
                                                                               18. Your payments of alimony, maintenance, and support that you did not report as                18.
                                                                                   deducted from your pay on line 5, Schedule I (Official Form 106I)

                                                                               19. Other payments you make to support others who do not live with you.                          19.
                                                                                   Specify: N/A

                                                                               20. Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                   Schedule I (Official Form 106I)

                                                                                    20a. Mortgages on other property                                                           20a.

                                                                                    20b. Real estate taxes                                                                     20b.




                                                                               Official Form 106J                                           Schedule J: Your Expenses                                   Page 2
                                                                                              Case 19-40372           Doc 1       Filed 03/11/19 Entered 03/11/19 17:39:15                             Desc Main
                                                                               Debtor 1    Roland W. Tremblay Jr.                                                                                                    Case number:
                                                                                                                                   Document     Page 52 of 72

                                                                                                                                                                                                           Your
                                                                                                                                                                                                         expenses
                                                                                   20c. Property, homeowner's, or renter's insurance                                                            20c.

                                                                                   20d. Maintenance, repair, and upkeep expenses                                                                20d.

                                                                                   20e. Homeowner's association or condominium dues                                                             20e.

                                                                                   20f. Other. Specify:                                                                                         20f.

                                                                               21. Other. Specify: N/A                                                                                           21.

                                                                               22. Calculate your monthly expenses.

                                                                                   22a. Add lines 4 through 21.                                                                                 22a.       $5,618.53
                                                                                   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.

                                                                                   22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.       $5,618.53


                                                                               23. Calculate your monthly net income

                                                                                   23a. Copy line 12 (your combined monthly income) from Schedule I                                             23a.       $5,914.41
                                                                                   23b. Copy your monthly expenses from line 22 above.                                                          23b.       $5,618.53
                                                                                   23c. Subtract your monthly expenses from your monthly income.                                                23c.          $295.88
                                                                                        The result is your monthly net income

                                                                               24. Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                                   For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease
                                                                                   because of a modification to the terms of your mortgage?
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                                                                                          No
                                                                                          Yes.
                                                                                          Explain.....




                                                                               Official Form 106J                                          Schedule J: Your Expenses                                                         Page 3
                                                                                               Case 19-40372              Doc 1        Filed 03/11/19 Entered 03/11/19 17:39:15                                    Desc Main
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                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Roland W. Tremblay Jr.

                                                                                  Debtor 2        Lisa J. Tremblay
                                                                                  (Spouse, if filing)                                                                                                              Check if this is an amended
                                                                                                                                                                                                                   filing
                                                                                  United States Bankruptcy Court for the District of Massachusetts

                                                                                  Case number
                                                                                  (If known)



                                                                               Official Form 106Dec
                                                                               Declaration About an Individual Debtor’s Schedules                                                                                                    12/15


                                                                               If two married people are filing together, both are equally responsible for supplying correct information.

                                                                               You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
                                                                               obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
                                                                               years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                                                   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                                                                                          No
                                                                                          Yes. Name of person N/A. Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

                                                                                   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they
                                                                                   are true and correct.
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                                                                                   /s/ Roland W. Tremblay Jr.                                                                                       03/11/2019
                                                                                   Signature of Debtor 1                                                                                            Date

                                                                                   /s/ Lisa J. Tremblay                                                                                             03/11/2019
                                                                                   Signature of Debtor 2                                                                                            Date




                                                                               Official Form 106Dec                                 Declaration About an Individual Debtor’s Schedules                                                   Page 1
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Roland W. Tremblay Jr.

                                                                                    Debtor 2        Lisa J. Tremblay
                                                                                    (Spouse, if filing)                                                                                                           Check if this is an amended
                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 107
                                                                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 04/16


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Give Details About Your Marital Status and Where You Lived Before

                                                                               1.    What is your current marital status?
                                                                                        Married
                                                                                        Not married


                                                                               2.    During the last 3 years, have you lived anywhere other than where you live now?
                                                                                         No
                                                                                         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
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                                                                                            Debtor 1                                       Dates Debtor 1 lived      Debtor 2                                        Dates Debtor 2 lived
                                                                                                                                           there                                                                     there

                                                                                            13 Mill Street, Apt. 7 Warren, MA 01083                             Same as Debtor 1                                       Same as Debtor 1
                                                                                                                                           UNKNOWN to 09/2015 13 Mill St, Apt 7, Warren, MA                          UNKNOWN to 09/2015

                                                                               3.    Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
                                                                                     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                     Texas, Washington, and Wisconsin.)
                                                                                         No
                                                                                         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



                                                                                Part 2:              Explain the Sources of Your Income

                                                                               4.    Did you have any income from employment or from operating a business during this year or the two previous calendar
                                                                                     years?
                                                                                     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities. If you are filing a
                                                                                     joint case and you have income that you receive together, list it only once under Debtor 1.
                                                                                           No
                                                                                           Yes. Fill in the details.


                                                                                                                             Debtor 1                                                Debtor 2

                                                                                                                             Sources of income           Gross income                Sources of income             Gross income
                                                                                                                             Check all that apply        (before deductions and      Check all that apply          (before deductions and
                                                                                                                                                         exclusions)                                               exclusions)

                                                                                     From January 1 of current                    Wages, commissions,                                      Wages, commissions,
                                                                                                                                  bonuses, tips                                            bonuses, tips
                                                                                     year until the date you                      Operating a business                                     Operating a business
                                                                                     filed for bankruptcy:                                                            $10,576.94




                                                                               Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     Page 1
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                                                                                                                       Sources of income              Gross income             Sources of income            Gross income
                                                                                                                       Check all that apply           (before deductions and   Check all that apply         (before deductions and
                                                                                                                                                      exclusions)                                           exclusions)

                                                                                    For last calendar year:                 Wages, commissions,                                      Wages, commissions,
                                                                                    (January 1 to December 31, 2018)        bonuses, tips                                            bonuses, tips
                                                                                                                            Operating a business                 $35,329.88          Operating a business

                                                                                    For the calendar year                   Wages, commissions,                                      Wages, commissions,
                                                                                                                            bonuses, tips                                            bonuses, tips
                                                                                    before that:                            Operating a business                                     Operating a business
                                                                                    (January 1 to December 31, 2017)                                             $17,485.00

                                                                               5.   Did you receive any other income during this year or the two previous calendar years?
                                                                                    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social
                                                                                    Security, unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from
                                                                                    lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you have income that you received
                                                                                    together, list it only once under Debtor 1.

                                                                                    List each source and the gross income from each source separately. Do not include income that you listed in line 4.
                                                                                         No
                                                                                         Yes. Fill in the details.


                                                                                                                       Debtor 1                                                Debtor 2

                                                                                                                       Sources of income              Gross income from        Sources of income            Gross income from
                                                                                                                       Describe below                 each source              Describe below               each source
                                                                                                                                                      (before deductions and                                (before deductions and
                                                                                                                                                      exclusions)                                           exclusions)

                                                                                    From January 1 of current
                                                                                    year until the date you            Seven Hills (Disabled Foster
                                                                                    filed for bankruptcy:              Child Care)                                 $4,246.20   SSI                                         $2,365.50
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                                                                                    For last calendar year:            Seven Hills (Disabled Foster
                                                                                    (January 1 to December 31, 2018)   Child Care)                               $16,984.80    SSI                                         $9,204.00




                                                                                    For the calendar year
                                                                                    before that:
                                                                                    (January 1 to December 31, 2017)




                                                                                Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy




                                                                               Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   Page 2
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                                                                               6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

                                                                                          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                              "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425.00* or more?

                                                                                                   No. Go to line 7.

                                                                                                   Yes. List below each creditor to whom you paid a total of $6,425.00* or more in one or more payments and the total
                                                                                                       amount you paid that creditor. Do not include payments for domestic support obligations, such as child support
                                                                                                       and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                                              * Subject to adjustment on 04/01/2019 and every 3 years after that for cases filed on or after the date of adjustment.

                                                                                          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                                                                                                   No. Go to line 7.

                                                                                                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor.
                                                                                                       Do not include payments for domestic support obligations, such as child support and alimony. Also, do not
                                                                                                       include payments to an attorney for this bankruptcy case.
                                                                                              Creditor                       Dates of             Total amount paid          Amount you still owe   Was this payment for...
                                                                                                                             payment

                                                                                              Guild Mortgage Company         12/2018                           $2,772.04              $177,403.00       Mortgage
                                                                                              P.o. Box 85304                                                                                            Car
                                                                                              San Diego, CA 92186                                                                                       Credit card
                                                                                                                                                                                                        Loan repayment
                                                                                                                                                                                                        Suppliers or vendors
                                                                                                                                                                                                        Other
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                                                                               7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
                                                                                    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general
                                                                                    partner; corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting
                                                                                    securities; and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include
                                                                                    payments for domestic support obligations, such as child support and alimony.
                                                                                         No
                                                                                         Yes. List all payments to an insider


                                                                               8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt
                                                                                    that benefited an insider?
                                                                                    Include payments on debts guaranteed or cosigned by an insider.
                                                                                         No
                                                                                         Yes. List all payments that benefited an insider.



                                                                                Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

                                                                               9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative
                                                                                    proceeding?
                                                                                    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support
                                                                                    or custody modifications, and contract disputes.
                                                                                         No
                                                                                         Yes. Fill in the details


                                                                                     Case title                        Nature of the case                   Court or agency                    Status of the case

                                                                                     Shamrock Finance, LLC v.          Civil Proceeding for Money           Salem Distrcit Court               Pending Request for
                                                                                     All Wheels Detailing & Auto       Damages Under Contract               56 Federal St                      55(b)(1)Default Judgement
                                                                                     Sales, Inc. and , No.                                                  Salem, MA 01970
                                                                                     1836CV0863




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                                                                                     Case title                       Nature of the case                   Court or agency                       Status of the case

                                                                                     Emily Montalvo vs. All           Civil Breach of Contract             Springfield District Court            Unknown
                                                                                     Wheels Detailing & Auto                                               50 State Street
                                                                                     Sales, Inc., et. al. (Roland                                          Springfield, MA 01103
                                                                                     Tremblay and Lisa
                                                                                     Tremblay), No. 1823-CV-443

                                                                               10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
                                                                                   seized, or levied?
                                                                                   Check all that apply and fill in the details below.
                                                                                       No. Go to line 11.
                                                                                       Yes. Fill in the information below.


                                                                                     Creditor                                        Describe the property and explain what              Date               Value of the
                                                                                                                                     happened                                                               property

                                                                                     IRS                                             Tax Levi on Account XXXXX7564                            07/03/2018              $1,706.77
                                                                                     Attn: Mrs. Couture
                                                                                     Ste 600 120 Front St.                                Property was repossessed
                                                                                     Worcester, MA 01608                                  Property was foreclosed
                                                                                                                                          Property was garnished
                                                                                                                                          Property was attached, seized, or
                                                                                                                                          levied


                                                                                     IRS                                             Tax Levy on IRS Tax Refund                               10/09/2018              $4,289.00
                                                                                     Attn: Mrs. Couture
                                                                                     Ste 600 120 Front St.                                Property was repossessed
                                                                                     Worcester, MA 01608                                  Property was foreclosed
                                                                                                                                          Property was garnished
                                                                                                                                          Property was attached, seized, or
                                                                                                                                          levied
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                                                                               11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off
                                                                                   any amounts from your accounts or refuse to make a payment because you owed a debt?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit
                                                                                   of creditors, a court-appointed receiver, a custodian, or another official?
                                                                                        No
                                                                                        Yes



                                                                                Part 5:         List Certain Gifts and Contributions

                                                                               13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                                                                                       No
                                                                                       Yes. Fill in the details for each gift.


                                                                               14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than
                                                                                   $600 to any charity?
                                                                                       No
                                                                                       Yes. Fill in the details of each gift or contribution



                                                                                Part 6:         List Certain Losses




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                                                                               15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft,
                                                                                   fire, other disaster, or gambling?
                                                                                         No
                                                                                         Yes. Fill in the details



                                                                                Part 7:        List Certain Payments or Transfers

                                                                               16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
                                                                                   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                                     Person who was paid                            Description and value of any property               Date payment      Amount of payment
                                                                                                                                    transferred                                         or transfer
                                                                                                                                                                                        was made

                                                                                     Ginger B. Kelly, Esq.                          Expense & fee retainer (including any                    07/02/2018          $2,335.00
                                                                                     167 Carpenter Hill Road                        retainer for the filing fee)
                                                                                     Charlton, MA 01507

                                                                                     Email or website address:
                                                                                     AttorneyGingerKelly@gmail.com

                                                                                     Person Who Made the Payment if Not
                                                                                     You:

                                                                                                                                    Fee for § 109(h)(1) briefing by approved                 02/25/2019             $14.95
                                                                                                                                    nonprofit budget and credit counseling
                                                                                     Email or website address: DebtorCC.org         agency

                                                                                     Person Who Made the Payment if Not
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                                                                                     You:

                                                                                     The Law Offices of Ginger B. Kelly                                                                      07/02/2018          $2,335.00
                                                                                     167 Carpenter Hill Rd.
                                                                                     Charlton, MA 01507

                                                                                     Email or website address:
                                                                                     AttorneyKelly.com

                                                                                     Person Who Made the Payment if Not
                                                                                     You:

                                                                               17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone who promised to help you deal with your creditors or to make payments to your creditors?
                                                                                   Do not include any payment or transfer that you listed on line 16.
                                                                                       No
                                                                                       Yes. Fill in the details.


                                                                               18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other
                                                                                   than property transferred in the ordinary course of your business or financial affairs?
                                                                                   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your
                                                                                   property). Do not include gifts and transfers that you have already listed on this statement.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                               19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of
                                                                                   which you are a beneficiary? (These are often called asset-protection devices.)
                                                                                       No
                                                                                       Yes. Fill in the details




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                                                                                Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

                                                                               20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
                                                                                   benefit, closed, sold, moved, or transferred?
                                                                                   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
                                                                                   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                               21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
                                                                                   for securities, cash, or other valuables?
                                                                                        No
                                                                                        Yes. Fill in the details.


                                                                               22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
                                                                                      No
                                                                                      Yes. Fill in the details.



                                                                                Part 9:         Identify Property You Hold or Control for Someone Else

                                                                               23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or
                                                                                   hold in trust for someone.
                                                                                       No
                                                                                       Yes. Fill in the details.



                                                                                Part 10:        Give Details About Environmental Information
                                                                               For the purpose of Part 10, the following definitions apply:
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                                                                                    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
                                                                                    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including
                                                                                    statutes or regulations controlling the cleanup of these substances, wastes, or material.
                                                                                    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
                                                                                    or used to own, operate, or utilize it, including disposal sites.
                                                                                    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
                                                                                    hazardous material, pollutant, contaminant, or similar term.

                                                                               Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


                                                                               24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an
                                                                                   environmental law?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               25. Have you notified any governmental unit of any release of hazardous material?
                                                                                      No
                                                                                      Yes. Fill in the details


                                                                               26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements
                                                                                   and orders.
                                                                                       No
                                                                                       Yes. Fill in the details



                                                                                Part 11:        Give Details About Your Business or Connections to Any Business




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                                                                               27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
                                                                                   business?
                                                                                           A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                                                                                           A member of a limited liability company (LLC) or limited liability partnership (LLP)
                                                                                           A partner in a partnership
                                                                                           An officer, director, or managing executive of a corporation
                                                                                           An owner of at least 5% of the voting or equity securities of a corporation

                                                                                          No. None of the above applies. Go to Part 12.
                                                                                          Yes. Check all that apply above and fill in the details below for each business.

                                                                                     Business name and address                     Describe the nature of the business                Employer identification number
                                                                                                                                   and identify the accountant or                     (Do not include SSN or ITIN)
                                                                                                                                   bookkeeper                                         Dates business existed

                                                                                     All Wheels Detailing & Auto Sales, Inc.       Auto Detaining and Auto Sales                      XX-XXXXXXX
                                                                                     496 Washington Street
                                                                                     Auburn, MA 01501                              Joseph P Lussier, CPA                              05/11/2015 to 03/05/2019
                                                                                                                                   484 Main Street Suite 420
                                                                                                                                   Worcester, MA 01608

                                                                               28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business?
                                                                                   Include all financial institutions, creditors, or other parties.
                                                                                       No
                                                                                       Yes. Fill in the details below.



                                                                                Part 12:        Sign Below
                                                                               I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
                                                                               answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
                                                                               fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C.
                                                                               §§ 152, 1341, 1519, and 3571.
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                                                                                    /s/ Roland W. Tremblay Jr.                                                                                 03/11/2019
                                                                                    Signature of Debtor 1                                                                                      Date

                                                                                    /s/ Lisa J. Tremblay                                                                                       03/11/2019
                                                                                    Signature of Debtor 2                                                                                      Date


                                                                                    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
                                                                                             No
                                                                                             Yes

                                                                                    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
                                                                                             No
                                                                                             Yes. Name of person N/A -- the BkAssist software used to prepare this petition is licensed for use only by
                                                                                             attorneys.




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                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Roland W. Tremblay Jr.

                                                                                  Debtor 2        Lisa J. Tremblay
                                                                                  (Spouse, if filing)                                                                                                  Check if this is an amended
                                                                                                                                                                                                       filing
                                                                                  United States Bankruptcy Court for the District of Massachusetts

                                                                                  Case number
                                                                                  (If known)



                                                                               Official Form 108
                                                                               Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


                                                                               If you are an individual filing under chapter 7, you must fill out this form if:

                                                                                    creditors have claims secured by your property, or
                                                                                    you have leased personal property and the lease has not expired.

                                                                               You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
                                                                               whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

                                                                               If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
                                                                               sign and date the form.

                                                                               Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
                                                                               write your name and case number (if known).


                                                                                Part 1:            List Your Creditors Who Hold Secured Claims
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                                                                               For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill
                                                                               in the information below.


                                                                                    Identify the creditor and the property that is collateral    What do you intend to do with the property that             Did you claim the
                                                                                                                                                 secures a debt?                                             property as exempt
                                                                                                                                                                                                             on Schedule C?

                                                                                    Guild Mortgage Company                                            Surrender the property.                                    No
                                                                                                                                                      Retain the property and redeem it.                         Yes
                                                                                    32 Crestwood Drive, Southbridge, MA 01550                         Retain the property and enter into a Reaffirmation
                                                                                                                                                      Agreement.
                                                                                                                                                      Retain the property and [explain]: Continue to pay
                                                                                                                                                      the obligation as permitted by applicable
                                                                                                                                                      non-bankruptcy law

                                                                                    Workers Credit Union                                              Surrender the property.                                    No
                                                                                                                                                      Retain the property and redeem it.                         Yes
                                                                                    2015 Dodge Caravan                                                Retain the property and enter into a Reaffirmation
                                                                                                                                                      Agreement.
                                                                                                                                                      Retain the property and [explain]: Continue to pay
                                                                                                                                                      the obligation as permitted by applicable
                                                                                                                                                      non-bankruptcy law


                                                                                Part 2:            List Your Unexpired Personal Property Leases
                                                                               For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form
                                                                               106G), fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease
                                                                               period has not yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. §
                                                                               365(p)(2).


                                                                                    Describe your unexpired personal property lease                                                                          Will the lease be
                                                                                                                                                                                                             assumed?




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                                                                                Part 3:        Sign Below
                                                                               Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
                                                                               personal property that is subject to an unexpired lease.


                                                                                    /s/ Roland W. Tremblay Jr.                                                                         03/11/2019
                                                                                    Signature of Debtor 1                                                                              Date

                                                                                    /s/ Lisa J. Tremblay                                                                               03/11/2019
                                                                                    Signature of Debtor 2                                                                              Date
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                                                                                                       United States Bankruptcy Court
                                                                                                               District of Massachusetts
                                                                                                                  Worcester Division


                                                                               In re: Tremblay, Roland and Lisa                       Case No.



                                                                                                            VERIFICATION OF CREDITOR MATRIX

                                                                               I(we) verify that the attached list of creditors and the matrix file to be uploaded in this case
                                                                               are true and complete to the best of my(our) knowledge.


                                                                               /s/ Roland W. Tremblay Jr.                                                        03/11/2019
                                                                               Debtor                                                                            Date


                                                                               /s/ Lisa J. Tremblay                                                              03/11/2019
                                                                               Joint Debtor                                                                      Date
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At T Directv
PO Box 57547
Jacksonville, FL    32241

AtT Mobility
260 Airport Plaza Blvd
Farmingdale, NY 11735

AtT Mobility
PO Box 6463
Carol Stream, IL    60197

AtT Mobility
Sunrise Credit Srvc
260 Airport Plaza
Farmingdale, NY 11735

Cahill's Tire Center, Inc
33 Sutton Avenue
Oxford, MA 01540

Capital One
1680 Capital One Dr.
Mc Lean, VA 22102

Capital One
Attn: Bankruptcy
P.O. Box 30285
Salt Lake City, UT       84130

Capital One Bank Usa N
P.O. Box 30281
Salt Lake City, UT 84130

Capital One Bank USA NA
1680 Capital One Dr
Mc Lean, VA 22102

Capital One Bank USA NA
Client Services Inc
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Capital One Bank USA NA
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Charles Tuite
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Norfolk, VA 23502

Collection
476 W Vermont Ave
Escondido, CA 92025

Commonwealth of Mass
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Las Vegas, NV 89193

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POB 15316
Wilmington, DE 19850

Dr. Bruce S. Fieldman
48 Auburn St.
Auburn, MA 01501

Dudley District Ct.
Re: 1064SC001414
279 West Main Street
Dudley, MA 01571
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Dudley District Ct.
Re: 1264SC000175
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 1664SC000379
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 1764SC1240
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 264SC000110
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 364SC000421
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 664CV000320
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 764CV000243
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 764CV000266
279 West Main Street
Dudley, MA 01571

Dudley District Ct.
Re: 764SP000031
279 West Main Street
Dudley, MA 01571
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Dudley District Ct.
Re: 964SC0000665
279 West Main Street
Dudley, MA 01571

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222 Main St
Southbridge, MA 01550
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Southbridge Credit Union
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